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AFFIDAVIT IN SUPPORT OF MOTION FOR APPROVAL OF
ADMINISTRATIVE CLAIM OF POPULUS FINANCIAL GROUP, INC.

The undersigned, being of lawful age, being first duly sworn, deposes and states as
follows:

1, That I am Executive Vice President and Chief Financial Officer for Populus
Financial Group, Inc. (“Populus”) and have personal knowledge of the matters set forth herein.

2. In my capacity, I have access to the business records of Populus, including the
business records for and relating to the agreements and business dealings between Populus and
Cash Cloud, Inc. (the “Debtor”). I make this affidavit based upon my review of those records
and from my own personal knowledge of how they are kept and maintained. The records I
reviewed are maintained by Populus in the course of its regularly conducted business activities.

3: Prior to February 7, 2023 (the ‘Petition Date”), Cash Cloud, Inc. (the “Debtor”)
and Populus entered into a Master Host Agreement (the “Agreement”) providing for Debtor to
place kiosk machines in Populus’s retail locations, which operate under the business name ACE
Cash Express. Attached hereto as Exhibit 1 is a true and correct copy of the Agreement.

4. The Agreement requires that the Debtor pay Populus $275 per machine per
month.

5. Since the Petition Date, the Debtor has continued to maintain its machines in

Populus’s retail locations.

6. The Debtor has not paid Populus for amounts incurred from May 1, 2023 to July

20, 2023, as follows:
Performance Month Payment Due Date Payment Due
* May 2023 June 15, 2023 $35,120.15
’ June 2023 July 15, 2023 $33,907.49
’ July 2023 August 15, 2023 $21.811.33

$90,838.97

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7. Attached hereto as Exhibit 2 are spreadsheets summarizing the calculation of

Populus’s administrative claim.

FURTHER AFFIANT SAYETH NOT.

A - |
\
BY: Lye i} .
NAME=-Spencer Williams “\>

TITLE: EVP and Chief Financial Officer

Signed and swom to before me this _20th day of July _ . 2023.

ke, EVA M. SANTOS Eye, M Santi.
‘ ie % Notary Public, State of Texas NOTARY PUBLIC

igs Comm. Expires 10-22-2026
“eoeeS Notary 1D 130002227

“Ww

(SEAL)

My Commission Expires:__ 10/22/2026

My Commission No.: _ 130002227

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MASTER Host AGREEMENT

This MASTER Host AGREEMENT (“Agreement”) is made by and between Cash Cloud Inc., dba Coin Cloud (“Coin
Cloud”), a Nevada corporation, and the undersigned entity (“Host”), together “Parties” and individually, a
“Party”, as of the undersigned date, “Master Effective Date”.

Now, THEREFORE, in consideration of the mutual covenants contained herein, including all exhibits and
addenda, the receipt and sufficiency of which is hereby acknowledged the Parties wish to install one or
more Kiosks under this Master Host Agreement, with locations and specific terms and details as agreed
and executed in one or more LOCATION EXHIBITS and associated schedule, amendment, or addendum,
collectively referred to as “Location Exhibits”, all of which are hereby incorporated into this Agreement,
and as follows:

Article |. KIOSK COMPENSATION AND LOCATION

Section |.01 Compensation: Unless otherwise stated in writing, Host agrees to permit one Kiosk to
be installed by Coin Cloud at each of the locations set forth in the Location Exhibit for the compensation
described in the Location Exhibit, and upon installation, Coin Cloud shall pay to Host the Compensation
as set forth in the Location Exhibit. In addition, if mutually agreed upon by Host and Coin Cloud in
writing, Host shall permit one or more Kiosks at certain additional locations, and in exchange upon
installation, Host will be paid certain COMPENSATION, as set forth in the Location Exhibit(s).

Section 1.02 Location: The specific location of a Kiosk within a Location shall be approved by Host’s
Regional Vice Presidents.

Article Il. SERVICES TO BE PERFORMED BY COIN CLOUD AND Host

Section II.01 Performance of Services: Coin Cloud shall perform the Services, or shall cause its agents,
contractors and subcontractors to perform the Services in a good and workmanlike manner, and all Services shall
be performed in a timely manner by skilled professionals in accordance with industry best practices. If the
Services are performed by Coin Cloud’s contractors, subcontractors or agents, Coin Cloud shall nevertheless
remain responsible for all such contractors’, subcontractors’ or agents’ actions and omissions. “Services”
include, but are not limited to, installing, operating, removing, promoting, monitoring, securing, servicing,
maintaining, and marketing all Kiosks. Through its Kiosks, Coin Cloud will facilitate the buying and selling of
digital currency. Coin Cloud will notify host of all digital currencies offered in a monthly basis.

Section 1l.02 Coin Cloud Employees and Third-Party Vendors: Coin Cloud may contract with
designated third parties to perform cash logistics, maintenance and other services. Host shall allow Coin
Cloud employees and designated third parties to enter Host’s premises, during regular business hour
and after providing at least three business days’ prior written notice, for such purposes and must ensure

1 EXHIBIT 1

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Kiosks are fully accessible for customer use and service access. Notwithstanding the foregoing, in an
emergency situation, Coin Cloud is permitted to seek the consent of a Host Regional Vice President to
permit access to Host’s premises with shorter notice. The Kiosks shall not be moved, nor their installed
clearance reduced without Coin Cloud approval.

Section IIl.03 Host Duties: Host agrees to fulfill the duties “Host DuTIES” as specified in the Location
Exhibits. Host shall not receive compensation for associated locations & kiosks under Article 1 before
fulfilling these associated duties.

Section IIl.04 Prohibited advertising: Kiosks shall not be used to advertise or otherwise display any
third-party advertisements without the prior written consent of Host, which consent may be denied for
any reason or no reason.

Article III. TERM AND TERMINATION OF MASTER AGREEMENT

Section III.01 Term: This Master Host Agreement shall commence as of the Master Effective Date and
shall continue until and unless terminated as provided for below.

Section IIIl.02 Termination: This Agreement may be terminated in accordance with one or more of the
following: (a) this Agreement may be terminated by mutual written agreement signed by authorized
representatives of both Parties; (b) either Party may terminate this Agreement upon a material breach
by the other Party of any provision of the Agreement if such breach is not cured within thirty (30) days
of written notification by the non-breaching Party to the breach Party; (c) either Party may immediately
terminate this Agreement in the event the other Party becomes insolvent, is dissolved or liquidated, has
a petition in bankruptcy, reorganization, dissolution, liquidation, or similar action filed by or against it, is
adjudicated as bankrupt, or has a receiver appointed for its business; (d) the operation of Coin Cloud’s
business, operation of the Kiosk, or hosting of the Kiosk by Host is made illegal or impractical by any
federal, state, or local law, rule, regulation, ordinance, or order whether promulgated or adopted by a
legislature, the executive branch, judicial branch or any governmental or quasi-governmental agency
(collectively, “Applicable Law”), in which case Coin Cloud may terminate the Agreement after thirty (30)
days’ prior written notice and which notice shall include a summary of why Coin Cloud’s business has
become illegal or impractical; (e) Host may terminate the Agreement without any liability if any of Host’s
regulators requests or orders that Host to terminate this Agreement or to cease or desist from making
available to the public the Kiosks or similar Bitcoin ATMs; (f) either Party may terminate the Agreement
if more than five (5) Kiosks installed at Host stores are vandalized or burglarized (or any attempt to
vandalize or burglarize) within a six (6) consecutive month period; (g) either Party may terminate the
Agreement for all Location(s) within a five (5) mile radius of a Kiosk that is vandalized or burglarized or
that has been the subject of an attempted vandalism or burglary of and such event subsequently
prevents the Host store to open for business for more than thirty (30) days following the incident; or (h)
Host may terminate this Agreement for any reason, and without penalty, during the thirty (30) days
following the date the first Kiosk is installed. Notwithstanding the forgoing, Article V. Exclusivity, will

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survive for three hundred and sixty-five (365) days if Host terminates the Agreement without cause
during the thirty (30) days following the date the first Kiosk is installed.

Section III.03 Duties Upon Termination: Upon termination of this Agreement, both parties shall
return directly to the other party any of its respective tangible assets/materials, provided, however, that
Coin Cloud shall bear all cost and obligation to retrieve Kiosk from Host’s stores. For the avoidance of

doubt, Coin Cloud shall bear all risk of loss relating to Kiosk as soon as Coin Cloud, or its agents or
subcontractors, begin the process of removing a Kiosk from Host’s store. Coin Cloud shall promptly
make all payments payable in accordance with the terms herein.

Article IV. TERM AND TERMINATION OF LOCATIONS WITHIN EXHIBITS

Section IV.01 Term: Each Location shall commence as of the date the Location Exhibit is fully
executed, “LOCATION EFFECTIVE DATE”. The agreement shall continue for a period, “INITIAL TERM”, after
installation date as specified in the Location Exhibit, unless terminated earlier as provided for below.

Section IV.02 Termination: Notwithstanding the foregoing, a Location may be terminated prior to its
expiration in accordance with one or more of the following: (a) the Location may be terminated by
mutual written agreement signed by authorized representatives of both Parties; (b) either Party may
terminate the Location upon a material breach by the other Party of any provision of the Master or
individual Location if such breach is not cured within thirty (30) days of written notification by the
nonbreaching Party to the breach Party; (c) either Party may immediately terminate the Agreement in
the event the other Party becomes insolvent, is dissolved or liquidated, has a petition in bankruptcy,
reorganization, dissolution, liquidation, or similar action filed by or against it, is adjudicated as bankrupt,
or has a receiver appointed for its business; (d) Coin Cloud reasonably believes that the Kiosk is being
utilized to directly facilitate illegal activity, and if requested by Host, Coin Cloud Coin Cloud furnishes all
information requested by Host that demonstrates that a Kiosk is being used to facilitate illegal activity ;
(e) the operation of Coin Cloud’s business, operation of the Kiosk, or hosting of the Kiosk by Host is
made illegal or impractical by any Applicable Law, in which case Coin Cloud may terminate the
Agreement after thirty (30) days prior written notice and which notice shall include a summary of why
Coin Cloud’s business has become illegal or impractical; (f) Host vacates or is evicted from the premises
at which a particular Kiosk is located, provided, however, that this provision does not apply if Host only
temporarily vacates premises in order to make repairs to a store; (g) either Party may terminate the
Location(s) within a five (5) mile radius of a vandalized or burglarized Location or of an attempted
vandalism or burglary of a Location if more than two (2) Kiosks within the five (5) mile radius are
vandalized or burglarized (or any attempt to vandalize or burglarize) has occurred within three (3)
consecutive months; or (h) Host may terminate any Location without any liability if (1) any of Host’s
regulators requests or orders that Host to terminate this Agreement or to cease or desist from making
available to the public the Kiosks or similar Bitcoin ATMs or (2) Host reasonably believes that as a result
of legislation or regulatory agency rule-making or the issuance of an interpretative letter relating to
applicable law, either Coin Cloud or Host cannot continue to operate Kiosks at a Location because either

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Coin Cloud or Host would not be, or is not, in compliance with applicable law. If Host renews under a
different name, subsection (g) shall not apply.

Section IV.03 Duties Upon Termination: Upon termination of this Agreement, both parties shall
return directly to the other party any of its respective tangible assets/materials, provided, however, that
Coin Cloud shall bear all cost and obligation to retrieve Kiosk from Host’s stores. For the avoidance of

doubt, Coin Cloud shall bear all risk of loss relating to Kiosk as soon as Coin Cloud, or its agents or
subcontractors, begin the process of removing a Kiosk from Host’s store. Coin Cloud shall promptly
make all payments payable in accordance with the terms herein.

Article V. EXCLUSIVITY

Section V.01 Exclusivity: Host appoints Coin Cloud as its exclusive provider of Services relating to
free-standing ATMs that facilitate the purchase and sale of digital cryptocurrencies with cash (“Bitcoin
ATMs”), such as the Kiosks.

Article Vl. SUSPENSION OF SERVICES

Section VI.01 Suspension: Coin Cloud may suspend the Services without liability if: a) Coin Cloud
reasonably believes that the Kiosk is being accessed without authorization or is otherwise being used for
improper or illegal purposes, and Coin Cloud furnishes to Host detailed, written evidence of such belief;
b) the Kiosk is removed from a store by Host or Host’s agents, contractors or subcontractors without
approval from Coin Cloud; c) Coin Cloud is required by Applicable Law to suspend the Services, provided
that Coin Cloud shall provide at least 30 days prior written notice before the suspension of Services
under this clause; or d) an event, for which Coin Cloud reasonably believes that suspension of Services is
necessary to protect Coin Cloud, its customers, or Host.

Section VI.02 Notice: Coin Cloud shall use commercially reasonable efforts to give Host notice of a
suspension at least seventy-two (72) hours in advance, unless Coin Cloud is legally prohibited from giving
such notice, or it determines that a suspension on shorter or contemporaneous notice is necessary to
protect Coin Cloud or its other customers from imminent and significant operational, legal, or security
risk. Commercial reasonable efforts include, but are not limited to, notification through electronic mail.

Article VII. INOPERATIVE KIOSK

Section VII.01 Interruption: Coin Cloud represents and warrants that it will be responsible for providing
internet connectivity to the Kiosks, and that it will use commercially reasonable efforts to maintain
uptime during a Location’s regular business hours. On occasion, functional operation of the Kiosk may
also be temporarily interrupted because of, but not limited to, Internet connectivity, hardware, or
software issues. Coin Cloud shall use commercially reasonable efforts to give Host notice of the

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inoperative Kiosk twenty-four (24) hours after discovery of the Kiosk being inoperative for at least
twenty-four (24) hours. Commercially reasonable efforts include, but are not limited to, notification
through electronic mail. Coin Cloud shall use commercially reasonable efforts to promptly repair or
otherwise remediate the cause of any interruption at Coin Cloud’s sole cost and expense.

Section VII.02 Defective: In the event that the Kiosk proves to be defective, this will not terminate this
Agreement. If such an event occurs, Coin Cloud will use reasonable commercial means to procure
promptly at Coin Cloud’s cost and install promptly at Coin Cloud’s cost a replacement Kiosk at Host’s
location and Services under this Agreement will continue.

Section VII.03 Electricity: Host makes no representation, warranty, guarantee or promise that
electricity or HVAC services will be available at all times.

Article VIII. OWNERSHIP OF INTELLECTUAL PROPERTY

Section VIII.01 Ownership: Coin Cloud shall retain exclusive ownership of all right, title, and interest in
and to the Coin Cloud properties, including any Background Technology or Coin Cloud Intellectual
Property and ownership of the Kiosk itself.

Section VIII.02 Restrictions: Each Party agrees that it will not use (except as provided for in this
Agreement or as described in this Agreement) or sublicense to any other party to use any

Background Technology or any of the other Party’s Intellectual Property that the other Party has
furnished for any other purpose, and that, in particular, each Party will not a) modify the other Party’s
Background Technology or Intellectual Property of Owner, b) distribute any of the other Party’s
Background Technology or Intellectual Property to any third party; or c) disassemble, decompile, reverse
engineer or modify any of the other Party’s Background Technology or Intellectual Property. Any
information supplied by each Party or obtained by the other Party, as permitted hereunder, may only be
used by the Parties for the purposes described herein and may not be disclosed to any third party or
used to create any product which is substantially similar to the functionality of the Kiosk.

Section VIII.03 Reservation of Right: Neither Party grants to the other Party any license or rights in or to
such Party’s Background Technology or any Intellectual Property, and hereby expressly reserves unto
itself, all rights not granted in this Agreement. Nothing in this Agreement shall be construed to prevent
a Party from using or from granting any licenses and rights to other firms, companies, entities, groups, or
individuals to use its own Background Technology or Intellectual Property in any manner whatsoever.

Section VII|.04 Improvements: Each Party shall, at all times, exclusively own all right, title, and interest
in any invention, modification, addition, derivative work, enhancement, revision, translation,
abridgment, condensation, or expansion to or arising from such Party’s own Intellectual Property. If any
intellectual property rights that are subject to legal protection are created or developed by a Party with
or without the involvement or participation as a result of the collaboration under this Agreement, such

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rights shall be owned exclusively by such Party, and may not be exploited outside of this Agreement
without the express written consent of such Party.

Article 1X. CONFIDENTIAL INFORMATION

Section IX.01 Each party acknowledges and agrees that by reason of its relationship to the other party
under this Agreement it may have access to and acquire knowledge from Confidential Information.
“Confidential Information” means material, data, systems, and other information concerning the
operation, business, financial affairs, products, customers, and intellectual property of the other Party
that may not be accessible or known to the general public, including, but not limited to the terms of this
Agreement and that Disclosing Party has furnished to Receiving Party (“Confidential Information”). The
parties agree that Confidential Information shall remain the sole and exclusive property of the disclosing
party (“Disclosing Party”), and the receiving party (“Receiving Party”) agrees to maintain the Confidential
Information in strict confidence and to use Confidential Information solely for the purposes set forth in
this Agreement. The Parties further acknowledge and agree for the purposes of this Article, Confidential
Information shall be deemed to include all Intellectual Property owned by a Party.

Section IX.02. The Receiving Party agrees: (i) that it will maintain and preserve the confidentiality of all
Confidential Information, including, but without limitation, taking such steps to protect and preserve the
confidentiality of the Confidential Information as it takes to preserve and protect the confidentiality of its own
confidential information; (ii) that it will disclose such Confidential Information only to its own affiliates and
employees on a “need-to-know’” basis only, and only to those affiliates and employees who have entered into a
confidentiality agreement, the obligations of which are at least as stringent as those contained in this Article; (iii)
that if software is involved, it will not disassemble, “reverse engineer,” “
and outputs of any software or hardware provided under this Agreement for any purpose, including but not
limited to, attempting to ascertain or deduce the functionality or workings of the software or hardware; and (iv)
that it will not disclose such Confidential Information to any third party (including subcontractors and
consultants) without the express written consent of the Disclosing Party, provided, however, that the Receiving
Party may disclose the financial terms of this Agreement to its legal and business advisors and to potential
investors, so long as such third parties have entered into a confidentiality agreement with the Receiving Party,
the obligations of which are at least as stringent as those contained in this Article.

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Section IX.03 The Receiving Party agrees (i) not to alter or remove any identification of any copyright,
trademark or other proprietary rights notice which indicates the ownership of any part of the Confidential
Information, and (ii) to notify the Disclosing Party of the circumstances surrounding any possession, use or
knowledge of the Confidential Information by any person or entity other than those authorized by this
Agreement.

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Section IX.04 Confidential Information shall exclude any information that (i) has been or is obtained
by the Receiving Party from a source independent of the Disclosing Party, without such independent
source or applicable law requiring Receiving Party to keep such information confidential, and not
receiving such information from the Disclosing Party, (ii) is or becomes generally available to the public
other than as a result of an unauthorized disclosure by the Disclosing Party or its personnel, (iii) is
independently developed by the Receiving Party without reliance in any way on the Confidential
Information provided by the Disclosing Party, or (iv) the Receiving Party is required to disclose under
judicial order, regulatory requirement, or statutory requirement, provided that the Receiving Party
provides written notice and an opportunity for the Disclosing Party to take any available protective
action prior to such disclosure.

Article X. DISCLAIMER AND LIMITATION OF LIABILITY

Section X.01 Disclaimer of Warranties: THE WARRANTIES SET FORTH HEREIN ARE LIMITED
WARRANTIES AND ARE THE ONLY WARRANTIES MADE BY COIN CLOUD. COIN CLOUD HAS NOT
GUARANTEED ANY RESULT OR OUTCOME TO BE OBTAINED FROM THE USE OF THE SERVICES.

TO THE MAXIMUM EXTENT PERMISSIBLE UNDER APPLICABLE LAW, NEITHER PARTY WILL BE LIABLE TO
THE OTHER PARTY FOR ANY THIRD PARTY FOR ANY LOSS OF BUSINESS OR PROFITS, OR FOR ANY
CONSEQUENTIAL, INCIDENTAL, PUNITIVE, OR SPECIAL DAMAGES, REGARDLESS OF THE FORM OF
ACTION, WHETHER IN CONTRACT OR IN TORT, INCLUDING NEGLIGENCE, EVEN IF SUCH PARTY HAS BEEN
ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. EACH PARTY ACKNOWLEDGES THAT THIS LIMITATION
OF LIABILITY REFLECTS AN INFORMED, VOLUNTARY ALLOCATION BETWEEN THE PARTIES OF

THE RISKS (KNOWN AND UNKNOWN) THAT MAY EXIST IN CONNECTION WITH THIS AGREEMENT. IN
ADDITION, NEITHER PARTY WILL BE LIABLE TO THE OTHER PARTY FOR THE CONSEQUENCES OF ANY
INTERRUPTIONS OR ERRORS IN ITS RESPECTIVE PRODUCTS OR SERVICES. NOTWITHSTANDING THE
FOREGOING, THIS SECTION X.02 SHALL NOT APPLY TO CLAIMS RELATING TO INDEMNITY CLAIMS FOR
DAMAGES TO A HOST STORE THAT IS CAUSED BY A THIRD PARTY.

Article XI. INDEMNIFICATION

Section XI.01 Each party agrees to indemnify, defend, and hold harmless the other party, including its
respective subsidiaries, affiliates, officers, directors, attorneys, accountants, agents, and employees
from and against any loss, cost, or damage of any kind (including reasonable outside attorneys’ fees) to
the extent arising out of the other party’s breach of this Agreement, its negligence or willful misconduct.

Coin Cloud will indemnify for up to $25,000 per location from damages caused by third parties.

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Article XII. GENERAL

Section XII.01 Compliance with Laws: Each Party, on behalf of itself and all affiliates, agrees to comply with all
applicable laws, rules, regulations, licenses, and approvals of any duly constituted state, federal or local
governmental or quasi-governmental authority having jurisdiction. Coin Cloud represents and warrants that the
performance of the Services, including without limitation, the operation of the Kiosks, complies with all
Applicable Law. Each party represents and warrants that it is not party to any governmental investigation or
governmental or private litigation relating to the Kiosks or the Services.

Section XII.02 Completion and Obligations: Upon completion of Services or other termination of this
Agreement, Coin Cloud shall make any outstanding payments to Host, and Coin Cloud shall have no
further obligations to Host, except for any obligation which expressly survive termination or expiration
of this Agreement.

Section XII.03 Safety: Host agrees to keep the premises reasonably safe. Host shall also allow, if
permitted by Host’s landlord, Coin Cloud to bolt the Kiosk to the floor if needed, and accordingly, Coin
Cloud shall obtain written confirmation from Host before Coin Cloud bolts a Kiosk to the floor. If Coin
Cloud bolts the Kiosk to the floor, the Coin Cloud shall repair such flooring when it removes the bolts.
Coin Cloud will not be required to install a Location unless it is bolted to the floor.

Section XII.04 Cooperation: Host agrees to comply with all reasonable requests to allow Coin Cloud
access to Kiosk Location and perform Services from Effective Date to the date of Completion of Services,
subject to Host’s written security policies. Host shall provide contact information for the manager or
other employee with similar duties upon Coin Cloud’s request. Notwithstanding any provision that
might be interpreted to the contrary, Coin Cloud shall not reference Host or any brand that Host
manages, including “ACE Cash Express” in any press release or marketing materials unless Coin Cloud
has obtained the written consent of Host, which may be denied for any reason or no reason.

Section XII.05 Host Has Legal Authority to Premises: Host represents and warrants that it has legal
authority and access to Kiosk Location. Coin Cloud has legal right and authority to offer the Kiosks and to
perform the Services without infringing upon the rights of any third party.

Section XII.06 Host Has Legal Authority to Enter Agreement: Host represents and warrants that Host has
legal authority to enter into this Agreement. Coin Cloud represents and warrants that Coin Cloud has
legal authority to enter into this Agreement.

Section XII.07 INSURANCE: Coin Cloud shall maintain, throughout the term of this Agreement, an
appropriate insurance policy in the name of Coin Cloud, the limit of which shall be no less than one
million dollars ($1,000,000) per occurrence, for each of the following categories: (i) a comprehensive
general liability policy, including, but not limited to, contractual liability, bodily injury, death and/or
property damage; (ii) a comprehensive crime policy, including employee dishonesty/fidelity coverage,
with respect to the work or operations done in connection with this Agreement; (iii) a comprehensive
errors and omissions policy; and (iv) a workers’ compensation policy in at least the minimum amounts
required by any applicable statute or regulation. Each insurance policy required under this Section

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XII.07 shall be written by insurance carriers that have an A.M. Best rating of “A” or better or are
otherwise acceptable to Host; (ii) provide that such policy may not be terminated or materially modified
without thirty (30) days prior written notice to both Coin Cloud and Host; and (iii)not include any
exclusions that would adversely affect coverage regarding any of the obligations of Coin Cloud
hereunder. A copy of each policy (including such endorsement) and any certificates of insurance
evidencing the existence of such policy, or any other documentation related to the requirements of this
Section XII.07 reasonably requested by Host, shall be provided to Host upon Host’s request. Coin Cloud
shall promptly provide notice to Host in the event Coin Cloud receives any notice of nonrenewal or
cancellation, lapse, termination, or reduction in any insurance coverage required to be maintained
pursuant to this Section XII.07.

Section XII.08 Severability: In the event that any provision or any portion of any provision contained in
this Agreement is unenforceable, held to be invalid, illegal, or unenforceable for any reason or in any
respect whatsoever, the remaining provisions and, in the event that a portion of any provision is
unenforceable, the remaining portions of such provision, shall nevertheless be carried into effect.

Section XII.09 Governing Law: This Agreement shall be governed by and construed under the laws of the
State of California, without reference to conflicts of law principles. Both parties expressly agree that any
action relating to this Agreement shall exclusively be brought in Sacramento, California, and both parties
irrevocably consent to the jurisdiction of the State and Federal courts located in Sacramento County,
California.

Section XII.10 Force Majeure: If any party to this Agreement is delayed in the performance of any of its
obligations under this Agreement or is prevented from performing any such obligations due to causes or
events beyond its reasonable control, including, without limitation, acts of God, fire, flood, strike or
other labor problem, injunction or other legal restraint, present or future law, governmental order, rule
or regulation, then such delay or nonperformance shall be excused and the time for performance
thereof shall be extended to include the period of such delay or non-performance; provided however, if
the non-performing party is without fault in causing such non-performance or delay, and such
nonperformance or delay could not have been prevented by reasonable precautions and cannot
reasonably be circumvented by the non-performing party through the use of alternate sources,
workaround plans or other means. In any such event, the non-performing party shall be excused from
any further performance or observance of the obligation so affected only for so long as such
circumstances prevail, and such party continues to use commercially reasonable efforts to recommence
performance or observance as soon as reasonably practicable.

Section XII.11 Successors and Assigns: The terms and conditions of this Agreement shall inure to the
benefit of and be binding upon the respective subsidiaries, successors, and assigns of the parties hereto,
provided however, that an assignment shall be void unless consented to by the non-assigning party, and
assignee further agrees in writing to assume all liability under this Agreement and to assume the
performance of all obligations under this Agreement; and provided, further, that any such assignment
shall not relieve the assignor of its obligations hereunder, unless such assignment expressly releases the
assignor.

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Section XII.12 No Waiver: The waiver by any party hereto of any breach or default shall not constitute a
waiver of any different or subsequent breach or default. No waiver of any provision of this Agreement
shall be effective unless stated in writing and signed by authorized representatives of all parties.

Section XII.13 Entire Agreement: This Agreement, including any exhibits or attachments attached hereto
(including, without limitation, the Location Exhibit and Location Table A), constitutes the entire
Agreement and understanding between the parties, and integrates all prior discussions between the
parties related to its subject matter. Except as expressly provided herein, this Agreement may not be
amended except by a written amendment executed by authorized representatives of both parties.

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DEFINITIONS

“Background Technology” means all Intellectual Property, including without limitation
all trade secrets, know-how, methodologies, and processes related to Coin Cloud’s
products or services and any computer software (in object code and source code form),
script, programming code, data, information, or HTML script which were conceived,
developed by, or licensed to Coin Cloud prior to the Effective Date of this Agreement, or
which consist of generally applicable software development tools and technology which
were developed by Coin Cloud in the course of discharging its obligations hereunder.

“Intellectual Property” means any intellectual property including without limitation,
copyrights, patents, trademarks, service marks, right of publicity, authors’ rights,
contract and licensing rights, goodwill, and all other intellectual property rights as may
exist now and/or hereafter come into existence and all renewals and extensions thereof,
regardless of whether such rights arise under the laws of the United States, European
Union, or any other state, country, or jurisdiction.

“Kiosk” means a machine capable of facilitating the purchase and sale of Digital
Currency using U.S. dollars.

“Digital Currency” means non-government-backed digital cryptocurrency, including but
not limited to bitcoin.

“Coin Cloud Properties” means all Intellectual Property, including without limitation
proprietary content, software, and associated documentation owned or licensed by Coin
Cloud and Confidential Information of Coin Cloud.

“Kiosk Location” means the location of the Kiosk located on Host’s property.

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SIGNATURE PAGE

This Agreement may be executed in any number of counterparts, each of which shall be deemed an
original, but all of which together shall constitute one and the same Agreement. This Agreement may be
executed by pdf file (or similar copy) sent by e-mail, and such transmission shall be valid and binding to
the same extent as if it were an original. The undersigned representatives each represent and certify that
they are authorized to execute this Agreement.

IN WITNESS WHEREOF, the parties hereto have agreed to this Agreement as of the Effective Date

written above.

CASH CLOUD INCc., DBA CoIN CLOUD
9580 W SAHARA AVE, SUITE 200
LAS VEGAS, NV 89117

DocuSigned by:
6B3624F602C9428..,

Name and Position: Christopher McAlary, CEO
Date: 6/14/2021

Signature:

Host

DocuSigned by:

Signature: .
Melavic Fw

OOC1I61A1EFE449B...

Name and Position: Date; 6/15/2021
Melanie Few cMo

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MASTER AGREEMENT CONTACT INFORMATION

Coin CLOUD CONTACT INFORMATION:

Coin Cloud
Attn: Host Services
9580 W Sahara Ave, Suite 200 Las

Vegas, NV 89117

https://www.coincloudatm.com

General Phone: (855) 264 2046 (select Host Services from menu)
Email: hostsupport@coincloudatm.com

Host CONTACT INFORMATION:

Host contact information for general and Master Agreement related communication.
Per location contact information and details are in Location Exhibit(s)

Host Information

Administrative contact

Name:
Position:

Telephone: Email:

Other contact notes (backup contacts, regions, etc.)

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LOCATION EXHIBIT

MASTER AGREEMENT REFERENCE: ACE CASH EXPRESS

Locations

ACE Cash Express will receive the Latest Generation Digital Currency Machine (DCM): Features 100% buy/sell,
+30 currencies, +40 languages, non-custodial companion app. If the DCM is subsequently upgraded with respect
to hardware or software, then Coin Cloud shall promptly make updates to the Kiosks at the Locations.

See Attached Location Table A
1. Phase 1: Test phase of 32 stores that we want to roll out as soon as we can

2. Phase 2: Second set of stores that will be launched upon Populus Financial Compliance Approval.
Populus Financial plans to approve the deployment of these locations within 6 weeks of executing this
agreement but will not be obligated to approve them within that timeframe.

3. Phase 3: Final set of stores not yet approved by the Populus Financial Group.

Terms

2-year

Compensation

Payment: $275/month/location ($3,300/year; annual productivity of $1,736 sq ft)

Payment Period, Date, and Method: Within 15 days of the end of the calendar month via ACH (option is available
to receive payment in Bitcoin)

Coin Cloud shall also deliver a $100,000 security deposit (the “Security Deposit”) no later than ten (10) business
days after the execution of this Agreement. Host may apply all or any portion of the Security Deposit to repair
Host’s stores in the event that a Kiosk has been vandalized or stolen, but no more than $25,000 per Location
Following the one-year anniversary of the first Kiosk installed at Host’s stores, Host shall return any unused
portion of the Security Deposit. For the avoidance of doubt, the Security Deposit may be commingled with
Host’s other funds.

Coin Cloud Responsibilities

Speed-to-Market: Coin Cloud will commit to 100% distribution in all locations within 8 weeks of signed
agreement, subject to Host compliance approval as described in the location exhibit.

Marketing: In-store POP material available at no cost, including A-frame, window signage, top sign; promotion
on the Coin Cloud companion app, and through our social media platform; Google Listing within 48 hours of kiosk
placement, as well as continuous SEO. All marketing materials that Coin Cloud provides shall comply with all
Applicable Law.

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Delivery & Installation: Coin Cloud will provide and be responsible for all delivery, set-up, installation, and any
ongoing service or maintenance costs.

Internet: Coin Cloud operates on its own mobile network and will be responsible, assumes all risk, for all setup
and ongoing related costs, as well as for connectivity to the internet.

Site Surveys: Coin Cloud can survey all locations within 10 days of signed agreement.
Service/Maintenance: Coin Cloud will manage and be responsible for all costs related to service and maintenance.

Cash Logistics: Coin Cloud will manage and be responsible for all cash logistics, including the removal, insertion,
and transfer of cash.

Compliance: Coin Cloud will manage and be responsible for all international, federal, state, and local licensing
and compliance requirements with respect to the provision of Services.

Inventory: Coin Cloud will guarantee inventory and be responsible for pricing and potential losses, including any
related to price volatility.

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Host Rights and Duties
Provide Placement in Location: Kiosk Specifications: 16” x 17” (1.9 sq. ft.) footprint; 61” height.

Electrical: Coin Cloud requires 110VAC; power consumption 108W stable state, 132W operational (able to share
power with any device). Host does not guarantee that electrical service will be uninterrupted or that electricity
will be provided at the correct voltage or amperage. ALL ELECTRICAL SERVICE IS PROVIDED “AS-IS”.

Security/Safety: Host shall allow Kiosk to be bolted to the floor, except at locations where Host’s landlord does
not permit Host to bolt property to the floor. Coin Cloud is not obligated to install a kiosk in a location where the
Kiosk is not permitted to be bolted to the ground. FOR THE AVOIDANCE OF DOUBT, HOST MAKES NO
WARRANTY AS TO WHETHER A KIOSK THAT HAS BEEN BOLTED TO THE FLOOR REMAINS THE PERSONAL
PROPERTY OF COIN CLOUD OR A FIXTURE THAT BECOMES A PART OF THE LEASEHOLD ESTATE. COIN CLOUD
SHALL BE RESPONSIBLE FOR ASSUMING ALL RISK WITH RESPECT TO THE CONSEQUENCES OF BOLTING A KIOSK
TO THE FLOOR.

Note: If Host does not allow the Kiosk to be bolted to the floor, Host will be liable for all damages resulting from
the kiosk not being bolted to the floor, to the extent that Host permits a Kiosk to be placed at such location.
These damages may include the value of a replacement kiosk and the amount of cash in the Kiosk if the Kiosk is
stolen as a result of the Kiosk not being bolted to the floor. Accordingly, if Host permits Kiosk to be bolted to the
floor, then Coin Cloud will be liable for all damages relating to, arising from, or in connection with the Kiosk,
including, without limitation, value of a replacement kiosk and the amount of cash in the Kiosk if the Kiosk is
stolen as a result of the Kiosk not being bolted to the floor.

Removal of Kiosk: Within) thirty (30) days of (i) termination of the Agreement, (ii) failure by Coin Cloud to
make timely payment of the monthly compensation due to Host (which payment default has not been cured
within ten (10) days after delivery of notice to Coin Cloud, or (iii) upon notice from Coin Cloud of Coin Cloud’s
intention to remove a Kiosk in accordance with the terms, Coin Cloud shall, at its own expense, remove the
Kiosk from Host’s store location and repair the flooring on which the Kiosk was placed and bolted. If Coin Cloud
does not timely remove the Kiosk, then Host has the right, but not the obligation, to remove the Kiosk (with the
cost of removal and repair of flooring charged to Coin Cloud) and to sell the Kiosk for scrap and Host shall not
be obligated to obtain the maximum value for any sale of the Kiosk. Coin Cloud hereby releases and holds
harmless Host from all damages, liability, and obligation relating to the Kiosks (including any duty to maximize
value in connection with the disposal of the Kiosk) if Host exercises its right to remove the Kiosk under this
section, or to hold the Kiosk in a warehouse or other storage facility, or to sell the Kiosk.

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Exhibit A

Host Insurance Requirements
Insurance Requirements as to Host and all Locations Serviced by Coin Cloud:

Commercial General Liability:

Covering liability arising from premises, operations, personal injury, products/completed operations, and
liability assumed under an insured contract (including the tort liability of another assumed in a business contract)
with limits of at least:

Limits: $1 Million Each Occurrence /$2 Million Aggregate

Personal & Advertising Injury: $1 Million
General Aggregate: $2 Million
Additional Insureds: Host, their related entities, their directors, officers, and employees Coverage:

Workers' Compensation and Employer's Liability:

Workers’ Compensation Limits: Pursuant to California law Employer's Liability Each Occurrence: $1
Million Employer's Liability Disease Each Occurrence: $1 Million Employer's Liability Disease Policy
Limit: $1 Million

Umbrella - Excess Liability:

Can be utilized to satisfy limit requirements Coverage is Following Form of Underlying.

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Location Table A

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4003804 W HIGHLAND AVE STEC ISAN BERNARDINO CA 92405) California Region Adame,Saira Phase 2
4018/1049 N MOUNT VERNON AVE COLTON CA 92324|California Region Adame,Saira Phase 2
411624853 ALESSANDRO BLVD STE 4A MORENO VALLEY CA 92553) California Region Adame,Saira Phase 2
4117]12210 PERRIS BLVD UNIT B20 {MORENO VALLEY CA 92557| California Region Adame,Saira Phase 2
4119123845 SUNNYMEAD BLVD [STEA JMORENO VALLEY CA 92553} California Region Adame, Saira Phase 2
4123]6302 VAN BUREN BLVD RIVERSIDE CA 92503] California Region Adame,Saira Phase 2
41 281 270 W FOOTHILL BLVD [STE F RIALTO CA 92376) California Region Adame, Saira Phase 2
4162]891 S CITRUS AVE AZUSA CA 91702]California Region Adame,Saira Phase 2
4182]6 W COLTON AVE REDLANDS CA 92374]California Region Adame, Saira Phase 2
42001745 E FOOTHILL BLVD RIALTO CA 92376]California Region Adame, Saira Phase 2
426711221 N STATE ST [STE B [SAN JACINTO CA 92583) California Region Adame, Saira Phase 2
4294]7750 LIMONITE AVE RIVERSIDE CA 92509|California Region Adame, Saira Phase 2
4311116184 FOOTHILL BLVD {STE G FONTANA CA 92335]California Region Adame, Saira Phase 2
424517900 EL CAJON BLVD |STEH LA MESA CA 91942) California Region [Becerril, Maria Phase 2
4246}950 E VISTA WAY UNIT 1 VISTA CA 92084) California Region Becerril, Maria Phase 2
4256)1 175 AVOCADO AVE [STE 104 JEL CAJON CA 92020) California Region [Becerril, Maria Phase 2
4276|22 W 7TH ST CALEXICO CA 92231|California Region |Becerril, Maria Phase 2
4288]4874 GENESEE AVE [SAN DIEGO CA 92117) California Region [Becerril, Maria Phase 2
42911500 W SAN MARCOS BLVD JSTE 101 [SAN MARCOS CA 92069} California Region [Becerril, Maria Phase 2
4301]1602 N IMPERIAL AVE STE B EL CENTRO CA 92243) California Region Becerril, Maria Phase 2
43021283 MAIN ST STED BRAWLEY CA 92227) California Region Becerril, Maria Phase 2
4035/3928 W ROSECRANS AVE HAWTHORNE CA 90250]California Region Martinez,Marisol Phase 2
4036] 1648 W CARSON ST STEA TORRANCE CA 90501}California Region Martinez,Marisol Phase 2
4038]104 W ANAHEIM ST [STE A WILMINGTON CA 90744] California Region Martinez,Marisal Phase 2
404211514 S VERMONT AVE STE J LOS ANGELES CA 90006] California Region |Martinez,Marisol Phase 2
40441500 E WASHINGTON BLVD LOS ANGELES CA eee Region Martinez,Marisol Phase 2
4129]2850 CRENSHAW BLVD LOS ANGELES CA 90016|California Region |Martinez,Marisol Phase 2
4156] 1333 PACIFIC COAST HWY HARBOR CITY CA 90710} California Region |Martinez,Marisol Phase 2
415711330 S PACIFIC AVE [STEA [SAN PEDRO CA 90731) California Region Martinez,Marisal Phase 2
4165]11201 NATIONAL BLVD LOS ANGELES CA 90064) California Region |Martinez,Marisol Phase 2

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4166/4948 W PICO BLVD LOS ANGELES CA 90019} California Region Martinez,Marisol Phase 2
4180)1010 W ANAHEIM ST WILMINGTON CA 90744) California Region Martinez,Marisol Phase 2
4199]1245 S UNION AVE LOS ANGELES cA 90015] Califomia Region Martinez,Marisol Phase 2
4255/4738 INGLEWOOD BLVD CULVER CITY CA 90230) California Region Martinez,Marisol Phase 2
4278]603 E UNIVERSITY DR STEC CARSON CA 90746] California Region Martinez,Marisol Phase 2
4063]1190 E F ST {STE 6A OAKDALE CA 95361}Northern CA Region JOpen 161 Phase 2
4072]1320 STANDIFORD AVE |sTES MODESTO cA 95350)Northern CA Region JOpen 161 Phase 2
4073]2508 OAKDALE RD STE C3 MODESTO CA 95355]Northern CA Region JOpen 161 Phase 2
4093]6000 LINDHURST AVE MARYSVILLE CA 95901}Northern CA Region JOpen 161 Phase 2
4094]5227 ELKHORN BLVD SACRAMENTO CA 95842|Northern CA Region JOpen 161 Phase 2
409717250 FAIR OAKS BLVD [STE F CARMICHAEL cA 95608}Northern CA Region JOpen 161 Phase 2
4098]4341 ELKHORN BLVD [SACRAMENTO CA 95842]|Northern CA Region JOpen 161 Phase 2
4216]4110 NORWOOD AVE STE 400 SACRAMENTO CA 95838}Northern CA Region [Open 161 Phase 2
4219]8391 FOLSOM BLVD [STE 2 [SACRAMENTO CA 95826] Northern CA Region [Open 161 Phase 2
4258/6640 VALLEY HI DRIVE STE A2 SACRAMENTO CA 95823]Northern CA Region JOpen 161 Phase 2
4272/1664 E MARCH LN [STE 1 [STOCKTON CA 95210)Northern CA Region JOpen 161 Phase 2
4338]729 E ST MARYSVILLE CA 95901}Northern CA Region JOpen 161 Phase 2
4054]27300 HESPERIAN BLVD HAYWARD CA 94545]Northern CA Region JOpen 171 Phase 2
4055]591 TRES PINOS RD HOLLISTER CA 95023]Northern CA Region [Open 171 Phase 2
4076]2700 SAN PABLO AVE OAKLAND CA 94612]Northern CA Region [Open 171 Phase 2
407779001 INTERNATIONAL BLVD OAKLAND CA 94603}Northern CA Region JOpen 171 Phase 2
4078]3229 INTERNATIONAL BLVD OAKLAND CA 94601}Northern CA Region JOpen 171 Phase 2
4082]2038 MISSION ST SAN FRANCISCO CA 94110}Northern CA Region JOpen 171 Phase 2
4087]2300 CUTTING BLVD RICHMOND CA 94804)Northern CA Region [Open 171 Phase 2
4284/1296 W 11TH ST TRACY CA 95376]Northern CA Region JOpen 171 Phase 2
4309]2006 FREEDOM BLVD FREEDOM CA 95019}Northern CA Region JOpen 171 Phase 2
4334]456 E HEDDING ST [SAN JOSE CA 95112]Northern CA Region JOpen 171 Phase 2
4336]14410 WASHINGTON AVE STE 114 SAN LEANDRO CA 94578}Northern CA Region [Open 171 Phase 2
4039]13131 HARBOR BLVD GARDEN GROVE cA 92843| California Region Orellana,Rosa Phase 2
413171571 W WHITTIER BLVD LA HABRA CA 90631} California Region Orellana,Rosa Phase 2
4159/1204 S$ EUCLID ST ANAHEIM CA 92802] California Region Orellana,Rosa Phase 2

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416113401 E ANAHEIM ST LONG BEACH cA 90804] California Region Orellana,Rosa Phase 2
4171}620 E 6TH ST CORONA cA 92879] Califomia Region Orellana,Rosa Phase 2
4173]560 W 19TH ST COSTA MESA cA 92627] Califomia Region Orellana,Rosa Phase 2
41851545 W MISSION BLVD POMONA cA 91766] California Region (Orellana,Rosa Phase 2
4209111755 IMPERIAL HWY [SUITE 300 NORWALK cA 90650] California Region Orellana,Rosa Phase 2
42221740 E ARROW HWY POMONA CA 91767] Califomia Region Orellana,Rosa Phase 2
431811557 E HOLT AVE POMONA cA 91767] California Region (Orellana,Rosa Phase 2
4329]404 N GRAND AVE [STE C [SANTA ANA cA 92701} Califomia Region Orellana,Rosa Phase 2
433111856 S EUCLID AVE STEB ONTARIO cA 91762] California Region (Orellana,Rosa Phase 2
471176583 ATLANTIC BLVD STE 110 LONG BEACH CA 90805] California Region Orellana,Rosa Phase 2
4727/1300 W PACIFIC COAST HWY LONG BEACH cA 90806] Califomia Region Orellana,Rosa Phase 2
404919241 W SHAW AVE FRESNO cA 93711] Northern CA Region [Parker,Esther Phase 2
4056/1825 COUNTRYSIDE DR TURLOCK CA 95380}Northern CA Region |Parker,Esther Phase 2
4062/2517 MITCHELL RD ISTE B CERES CA 95307|Northern CA Region [Parker,Esther Phase 2
40641420 H STREET MODESTO. cA 95351]Northern CA Region [Parker,Esther Phase 2
4108/1661 BELLEVUE RD ATWATER CA 95301] Northern CA Region [Parker,Esther Phase 2
4110]2774 WILLOW AVE STE 115 CLOVIS cA 93612]Northern CA Region [Parker,Esther Phase 2
4112]432 E BULLARD AVE FRESNO cA 93710]Northern CA Region |Parker,Esther Phase 2
4177/4796 E KINGS CANYON RD FRESNO cA 93702]Northern CA Region [Parker,Esther Phase 2
41781785 E SHAW AVE FRESNO cA 93710]Northern CA Region [Parker,Esther Phase 2
419512425 E MCKINLEY AVE FRESNO CA 93703]Northern CA Region |Parker,Esther Phase 2
4263/1426 E YOSEMITE AVE {STE 108 MADERA CA 93638} Northern CA Region }Parker,Esther Phase 2
40581730 WOOLLOMES AVE ISTE 107 DELANO cA 93215] Northern CA Region }|Perez,Armando Phase 2
4068/6465 NILES ST BAKERSFIELD cA 93306]Northern CA Region [Perez,Armando Phase 2
4090/290 E CROSS AVE TULARE cA 93274[Northern CA Region [Perez,Armando Phase 2
409171550 N BEN MADDOX WAY VISALIA cA 93292|Northern CA Region [Perez,Armando Phase 2
4176]2600 BUCK OWENS BLVD BAKERSFIELD cA 93308|Northern CA Region [Perez,Armando Phase 2
41897308 W OLIVE AVE PORTERVILLE cA 93257[Northern CA Region [Perez,Armando Phase 2
422113540 S MOONEY BLVD ISTEB VISALIA, CA 93277]}Northern CA Region |Perez,Armando Phase 2
4250]43458 10TH ST W STE 104 LANCASTER cA 93534{Northern CA Region [Perez,Armando Phase 2
427911821 W AVENUE | STE 109 LANCASTER cA 93534] Northern CA Region [Perez,Armando Phase 2
4306/2707 SH ST {STE A JBAKERSFIELD cA 93304] Northern CA Region [Perez,Armando Phase 2
4324138050 47TH STE jSTE B |PALMDALE cA 93552[Northern CA Region [Perez,Armando Phase 2

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414414526 SHERMAN WAY WAN NUYS CA 91405[Northern CA Region [Rios,Mayra Phase 2
4148/1013 TRUMAN ST [SAN FERNANDO cA 91340] Northern CA Region [Rios,Mayra Phase 2
4149]12801 SHERMAN WAY NORTH HOLLYWOOD CA 91605] Northern CA Region [Rios,Mayra Phase 2
4151/6344 SAN FERNANDO RD GLENDALE CA 91201] Northern CA Region [Rios,Mayra Phase 2
4169]13711 FOOTHILL BLVD UNIT C JSYLMAR cA 91342] Northern CA Region [Rios,Mayra Phase 2
4174/8318 VAN NUYS BLVD PANORAMA CITY CA 91402] Northern CA Region [Rios,Mayra Phase 2
424719340 TELEPHONE RD VENTURA CA 93004]Northern CA Region [Rios,Mayra Phase 2
4253]1177A E LOS ANGELES AVE [SIMI VALLEY CA 93065] Northern CA Region [Rios,Mayra Phase 2
4259/20115 SATICOY ST WINNETKA CA 91306]Northern CA Region [Rios,Mayra Phase 2
4328/8715 CORBIN AVE NORTHRIDGE CA 91324] Northern CA Region [Rios,Mayra Phase 2
4600]2694 E VINEYARD AVE [SUITE B OXNARD CA 93036}Northern CA Region |Rios,Mayra Phase 2
4603[3611 STATE ST [SANTA BARBARA CA 93105|Northern CA Region [Rios,Mayra Phase 2
412513517 E 1ST ST LOS ANGELES CA 90063] Califomia Region [Solano,Robert Phase 2
4130/1001 W WHITTIER BLVD [STEA MONTEBELLO CA 90640] Califomia Region {Solano,Robert Phase 2
4140/1561 W SUNSET BLVD LOS ANGELES CA 90026] Califomia Region |Solano,Robert Phase 2
4142/1700 W VALLEY BLVD ALHAMBRA, CA 91803] California Region ‘Solano,Robert Phase 2
4146/5136 N FIGUEROA ST HIGHLAND PARK CA 90042] California Region Solano,Robert Phase 2
4167/9000 ARTESIA BLVD |BELLFLOWER CA 90706] Califomia Region [Solano,Robert Phase 2
4168/1393 N HACIENDA BLVD STEA LA PUENTE CA 91744] California Region Solano,Robert Phase 2
4172]3359 WHITTIER BLVD LOS ANGELES CA 90023] California Region ‘Solano,Robert Phase 2
4192]2534 DALY ST LOS ANGELES cA 90031} Califomia Region [Solano,Robert Phase 2
4196]11908 VALLEY BLVD EL MONTE CA 91732] California Region Solano,Robert Phase 2
4210]6000 FLORENCE AVE [BELL GARDENS cA 90201} California Region [Solano,Robert Phase 2
4305/4915 EAGLE ROCK BLVD JEAGLE ROCK cA 90041} Califomia Region [Solano,Robert Phase 2
4321]4457 SLAUSON AVE MAYWOOD CA 90270] California Region Solano,Robert Phase 2
472415280 E BEVERLY BLVD [STEA LOS ANGELES CA 90022] Califomia Region [Solano,Robert Phase 2
405216300 WHITE LN [BAKERSFIELD cA 93309]Northern CA Region [Perez,Armando Phase 2
4106/5609 W SUNSET BLVD HOLLYWOOD CA 90028] California Region Solano,Robert Phase 2
4002/16920 FOOTHILL BLVD JSTEE FONTANA CA 92335] Califomia Region Adame, Saira Phase 2

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42301325 PALOMAR ST ICHULA VISTA cA 91911] California Region Becerril, Maria Phase 2
4008/4003 S WESTERN AVE [STE 102 LOS ANGELES cA 90062] Califomia Region Martinez,Marisol Phase 2
40011658 W HOLT BLVD STEC ONTARIO cA 91762] California Region (Orellana,Rosa Phase 2
404711340 W OLIVE AVE. STE 102 MERCED cA 95348) Northern CA Region |Parker,Esther Phase 2
414317160 RESEDA BLVD RESEDA CA 91335] Northern CA Region [Rios,Mayra Phase 2
3226/4712 3 ORANGE BLOSSOM TRL (ORLANDO FL 32839] Southeast Region Martinez,Roberto Phase 2
333417065 5S ORANGE BLOSSOM TRL (ORLANDO FL 32809] Southeast Region Barreto,Raphael Phase 2
3417]11059 W COLONIAL DR IOCOEE FL 34761] Southeast Region Barreto,Raphael Phase 2
3425/4490 S SEMORAN BLVD ORLANDO FL 32822]Southeast Region [| Barreto,Raphael Phase 2
3429/1948 E OSCEOLA PKWY KISSIMMEE FL 34743[ Southeast Region Barreto,Raphael Phase 2
3430/87 W MAIN ST APOPKA FL 32703] Southeast Region |Barreto,Raphael Phase 2
3431[4583 13TH ST {ST CLOUD FL 34769] Southeast Region |Barreto,Raphael Phase 2
3440139283 3 JOHN YOUNG PKWY STED KISSIMMEE FL 34746[ Southeast Region Barreto,Raphael Phase 2
3447/1005 W VINE ST KISSIMMEE FL 34741] Southeast Region |Barreto,Raphael Phase 2
344912575 E HIGHWAY 50 ISTE C CLERMONT FL 34711] Southeast Region |Barreto,Raphael Phase 2
3257]5124 BLANDING BLVD JACKSONVILLE FL 32210] Southeast Region Cain, Paulette Phase 2
3258110152 ATLANTIC BLVD JACKSONVILLE FL 32225] Southeast Region (Cain,Paulette Phase 2
325973543 KINGSTON 8ST JACKSONVILLE FL 32254| Southeast Region ‘Cain,Paulette Phase 2
3261]6030 MERRILL RD JACKSONVILLE FL 32277]|Southeast Region Cain,Paulette Phase 2
3265/1036 DUNN AVE STE 50 JACKSONVILLE FL 32218] Southeast Region ‘Cain,Paulette Phase 2
3266]946 CASSAT AVE JACKSONVILLE FL 32205] Southeast Region Cain,Paulette Phase 2
327015631 UNIVERSITY BLVD W JACKSONVILLE FL 32216] Southeast Region Cain,Paulette Phase 2
3287]833 BEACH BLVD JACKSONVILLE FL 32250] Southeast Region (Cain,Paulette Phase 2
3289]9741 SAN JOSE BLVD JACKSONVILLE FL 32257 | Southeast Region (Cain,Paulette Phase 2
3336]5751 N MAIN ST {STE 110 JACKSONVILLE FL 32208] Southeast Region Cain, Paulette Phase 2
3337]2261 EDGEWOOD AVE W |STE 17 JACKSONVILLE FL 32209] Southeast Region Cain, Paulette Phase 2
334717200 NORMANDY BLVD STES JACKSONVILLE FL 32205] Southeast Region (Cain,Paulette Phase 2
322412532 E BEARSS AVE STEB TAMPA FL 33613] Southeast Region (Cavallaro,Steven Phase 2
3228]1335 W BRANDON BLVD [STE F [BRANDON FL 33511] Southeast Region Cavallaro,Steven Phase 2
324813921 N FLORIDA AVE TAMPA FL 33603] Southeast Region Cavallaro,Steven Phase 2
3272]9303 N 56TH ST TEMPLE TERRACE FL 33617] Southeast Region \Cavallaro,Steven Phase 2
3315]2400 SW COLLEGE RD {STE 102 OCALA FL 34471] Southeast Region \Cavallaro,Steven Phase 2
3342111200 E MLK BLVD ste 108 [SEFFNER FL 33584] Southeast Region (Cavallaro,Steven Phase 2

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3349/2011 N MONROE ST TALLAHASSEE FL 32303] Southeast Region Cavallaro,Steven Phase 2
3351/8800 N. FLORIDA AVE TAMPA FL 33604] Southeast Region Cavallaro,Steven Phase 2
3352/4025 W HILLSBOROUGH AVE TAMPA FL 33614] Southeast Region (Cavallaro,Steven Phase 2
3355/2720 W KENNEDY BLVD TAMPA FL 33609] Southeast Region \Cavallaro,Steven Phase 2
335611825 S ADAMS ST TALLAHASSEE FL 32301} Southeast Region Cavallaro,Steven Phase 2
342611346 W NORTH BLVD LEESBURG FL 34748[ Southeast Region (Cavallaro,Steven Phase 2
343711610 S PINE AVE OCALA FL 34471] Southeast Region (Cavallaro,Steven Phase 2
32541806 NE WALDO RD GAINESVILLE FL 32641] Southeast Region Martinez,Roberto Phase 2
3269/833 N RIDGEWOOD AVE DAYTONA BEACH FL 32114] Southeast Region Martinez,Raberto Phase 2
3291/1538 NW 6TH ST GAINESVILLE FL 32601] Southeast Region Martinez,Roberto Phase 2
9332]11241 E COLONIAL DR STE 205 (ORLANDO FL 32817] Southeast Region Martinez,Roberto Phase 2
3345/3385 HIGHWAY 17 92 STE 205 CASSELBERRY FL 32707] Southeast Region Martinez,Roberto Phase 2
341515030 W COLONIAL DR ORLANDO FL 32808] Southeast Region Martinez,Roberto Phase 2
3416/6325 N ORANGE BLOSSOMTRL [STE 111 ORLANDO FL 32810] Southeast Region Martinez,Roberto Phase 2
342415171 S JOHN YOUNG PKWY ORLANDO FL 32839] Southeast Region Martinez,Roberto Phase 2
3433/4560 S KIRKMAN RD (ORLANDO FL 32811] Southeast Region Martinez,Roberto Phase 2
3434/2100 S FRENCH AVE [SANFORD FL 32771] Southeast Region Martinez,Roberto Phase 2
3435/6950 SILVER STAR RD (ORLANDO FL 32818] Southeast Region Martinez,Roberto Phase 2
3212]2705 54TH AVE N STE 18 ST PETERSBURG FL 33714] Southeast Region Mercado,Juan Phase 2
3216]870 3RD AVE S [ST PETERSBURG FL 33701/Southeast Region Mercado,Juan Phase 2
3218[5561 PARK BLVD N PINELLAS PARK FL 33781]/Southeast Region Mercado,Juan Phase 2
3237[5169 14TH ST W BRADENTON FL 34207] Southeast Region Mercado,Juan Phase 2
3253]3254 CENTRAL AVE [ST PETERSBURG FL 33712] Southeast Region Mercado,Juan Phase 2
3271/1420 MISSOURI AVE N LARGO FL 33770] Southeast Region Mercado,Juan Phase 2
3288[500 34TH STS ST PETERSBURG FL 33711]Southeast Region Mercado,Juan Phase 2
3306/6935 LITTLE RD NEW PORT RICHEY FL 34655] Southeast Region Mercado,Juan Phase 2
333813430 E BAY DR LARGO FL 33771] Southeast Region Mercado,Juan Phase 2
3354/3345 US HIGHWAY 19 HOLIDAY FL 34691] Southeast Region Mercado,Juan Phase 2

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337317403 SPRING HILL DR SPRING HILL FL 34606] Southeast Region Mercado,Juan Phase 2
3255]246 BLANDING BLVD ORANGE PARK FL 32073] Southeast Region Cain,Paulette Phase 2
3210/4001 E HILLSBOROUGH AVE TAMPA FL 33610] Southeast Region Cavallaro,Steven Phase 2
327811523 S CRYSTAL LAKE DR ORLANDO FL 32806] Southeast Region Barreto,Raphael Phase 2
3205]25720 US HIGHWAY 19 N CLEARWATER FL 33763] Southeast Region Mercado,Juan Phase 2
96914420 ALTAMA AVE ISTE 36 [BRUNSWICK GA 31520] Southeast Region Cain,Paulette Phase 2
811]2841 GREENBRIAR PKWY SW STE 305 ATLANTA GA 30331] Southeast Region Fulghum,Jackie Phase 2
81316443 TARA BLVD JONESBORO GA 30236] Southeast Region Fulghum,Jackie Phase 2
816/461 PONCE DE LEON AVE NE ATLANTA GA 30308] Southeast Region Fulghum,Jackie Phase 2
8211603 S MARIETTA PKWY SE [STE 101 MARIETTA GA 30060] Southeast Region Fulghum Jackie Phase 2
824/863 OAK ST SW ATLANTA GA 30310] Southeast Region Fulghum,Jackie Phase 2
830]2798 CAMP CREEK PKWY COLLEGE PARK GA 30337] Southeast Region Fulghum Jackie Phase 2
83515190 OLD NATIONAL HWY STEA ATLANTA GA 30349] Southeast Region Fulghum,Jackie Phase 2
83617512 HIGHWAY 85 STEB RIVERDALE GA 30274{ Southeast Region Fulghum,Jackie Phase 2
8371/4065 MEMORIAL DR STEF DECATUR GA 30032] Southeast Region Fulghum,Jackie Phase 2
839]3583 MLK DR SW ATLANTA GA 30331}]Southeast Region Fulghum,Jackie Phase 2
8431/9675 SATELLITE BLVD STE 830 DULUTH GA 30096] Southeast Region Fulghum,Jackie Phase 2
85112697 SPRING RD SE ISTEA [SMYRNA GA 30080] Southeast Region Fulghum,Jackie Phase 2
853]904 THORNTON RD LITHIA SPRINGS GA 30122] Southeast Region Fulghum,Jackie Phase 2
856/981 MORELAND AVE SE ATLANTA GA 30316] Southeast Region Fulghum,Jackie Phase 2
860]350 SHALLOWFORD RD NW STED GAINESVILLE GA 30504] Southeast Region Fulghum,Jackie Phase 2
877]6762 HIGHWAY 85 RIVERDALE GA 30274{ Southeast Region Fulghum,Jackie Phase 2
8771/4328 AUGUSTA RD GARDEN CITY GA 31408] Southeast Region ‘Cain,Paulette Phase 2
80473570 MEMORIAL DR STE 104 DECATUR GA 30032] Southeast Region Fulghum,Jackie Phase 2
710)2766 BELLE CHASSE HWY STE A1 GRETNA LA 70053)Mid South Region Bryer,Monique Phase 2
7171/4103 JEFFERSON HWY JEFFERSON LA 70121 |Mid South Region Bryer,Monique Phase 2
71241028 MANHATTAN BLVD STEC HARVEY LA 70058) Mid South Region Bryer.Monique Phase 2
715/4639 MAGAZINE ST STED NEW ORLEANS LA 701 15)Mid South Region Bryer,Monique Phase 2
7161401 S CLAIBORNE AVE NEW ORLEANS LA 70112|Mid South Region = J Bryer,Monique Phase 2
719}3601 N CAUSEWAY BLVD METAIRIE LA 70002] Mid South Region Bryer,Monique Phase 2
72516417 AIRLINE DR METAIRIE LA 70003)Mid South Region  [Bryer,Monique Phase 2
734]5029 LAPALCO BLVD STE A2 MARRERO LA 70072)Mid South Region Bryer,Monique Phase 2
73517605 WESTBANK EXPY MARRERO LA 70072| Mid South Region Bryer,Monique Phase 2
7738/1026 CANAL ST NEW ORLEANS LA 70112]Mid South Region {Bryer,Monique Phase 2

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739)2729 SAINT CLAUDE AVE NEW ORLEANS LA 70117) Mid South Region Bryer,Monique Phase 2
765]8720 W JUDGE PEREZ DR CHALMETTE LA 70043] Mid South Region = [Bryer,Monique Phase 2
77014638 WASHINGTON AVE NEW ORLEANS LA 70125]Mid South Region = [Bryer,Monique Phase 2
740/835 BENTON RD STE 1 BOSSIER CITY LA 71111 )Mid South Region Burch,Denise Phase 2
743/701 S VIENNA ST RUSTON LA 71270|Mid South Region —_ | Burch,Denise Phase 2
74411417 WINNSBORO RD MONROE LA 71202|Mid South Region = [Burch,Denise Phase 2
745]3227 LOUISVILLE AVE MONROE LA 71201] Mid South Region Burch,Denise Phase 2
7463101 CYPRESS ST [STE7 WEST MONROE LA 71291)Mid South Region — [Burch,Denise Phase 2
75673004 HIGHLAND AVE SHREVEPORT LA 71104) Mid South Region Burch,Denise Phase 2
1348/2709 W 70TH ST |SHREVEPORT LA 71108]Mid South Region  [Burch,Denise Phase 2
7714/4041 WILLIAMS BLVD STE A5 KENNER LA 70065) Mid South Region Castle,_Lashawn Phase 2
717)5949 PLANK RD [BATON ROUGE LA 70805] Mid South Region Castle, Lashawn Phase 2
7718/4065 FLORIDA BLVD STE 3 BATON ROUGE LA 70806] Mid South Region (Castle,_Lashawn Phase 2
721112330 FLORIDA BLVD STE 2 BATON ROUGE LA 70815)Mid South Region Castle, Lashawn Phase 2
722]904 W AIRLINE HW¥ LAPLACE LA 70068] Mid South Region (Castle, Lashawn Phase 2
723)/4427 PERKINS RD BATON ROUGE LA 70808] Mid South Region Castle, Lashawn Phase 2
726/5920 VETERANS MEM. BLVD [STE 102 METAIRIE LA 70003} Mid South Region (Castle, Lashawn Phase 2
730/100 E WILLOW ST LAFAYETTE LA 70501 |Mia South Region Castle, Lashawn Phase 2
73111103 E ADMIRAL DOYLE DR NEW IBERIA LA 70560] Mid South Region Castle, Lashawn Phase 2
732]2222 AMBASSADOR CAFFERY PKWY LAFAYETTE LA 70506) Mid South Region (Castle, _Lashawn Phase 2
736]2060 ONEAL LN [BATON ROUGE LA 70816] Mid South Region (Castle, Lashawn Phase 2
753]1702 HIGHWAY 14 LAKE CHARLES LA 70601] Mid South Region Castle, Lashawn Phase 2
768]/4609 JACKSON ST ALEXANDRIA LA 71303{Mid South Region (Castle,_Lashawn Phase 2
703/624 TERRY PKWY TERRYTOWN LA 70056] Mid South Region Bryer,Monique Phase 2
134613802 JEWELLA AVE SHREVEPORT LA 71109] Mid South Region Burch,Denise Phase 2
1395/8988 MANSFIELD RD SHREVEPORT LA 71118{Mid South Region Burch,Denise Phase 2
704)2545 WILLIAMS BLVD KENNER LA 70062|Mid South Region Castle, Lashawn Phase 2
23356303 MAIN ST GRANDVIEW JMO | 64030]Mid South Region | Beasley,Rhonda Phase 2
2302]10578 PAGE AVE ST LOUIS Imo 63132]Midwest Region Hildebrand, Kimberly Phase 2

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23031116 W TERRA LN ‘O'FALLON Mo 63366] Midwest Region Hildebrand, Kimberly Phase 2
2304113001 NEW HALLS FERRY RD FLORISSANT |mo_ | 63033]Midwest Region Hildebrand,Kimberly Phase 2
2306]7028 W FLORISSANT AVE JENNINGS JMO | 63136/Midwest Region Hildebrand,Kimberly Phase 2
2307/14636 MANCHESTER RD BALLWIN IMo 63011] Midwest Region Hildebrand,Kimberly Phase 2
2308]601 1ST CAPITOL DR [ST CHARLES {MO | 63301]Midwest Region Hildebrand, Kimberly Phase 2
2313]3655 S GRAND BLVD [ST LOUIS JMO | 63118]Midwest Region Hildebrand, Kimberly Phase 2
2314]10004 GRAVOIS RD [ST LOUIS JMO | 63123]Midwest Region Hildebrand, Kimberly Phase 2
2315/8434 N LINDBERGH BLVD FLORISSANT IMo 63031] Midwest Region Hildebrand, Kimberly Phase 2
2317410016 W FLORISSANT AVE [ST LOUIS JMO | 63136]Midwest Region Hildebrand,Kimberly Phase 2
232717856 OLIVE BLVD UNIVERSITY CITY Mo 63130]Midwest Region Hildebrand, Kimberly Phase 2
232916528 MANCHESTER AVE ST LOUIS |mo 63139] Midwest Region Hildebrand, Kimberly Phase 2
23011679 JEFFCO BLVD ARNOLD [Mo 63010]Midwest Region Hildebrand, Kimberly Phase 2
966]1709 DAWSON ST WILMINGTON NC 28403] Southeast Region Massey,Barbara Phase 2
1110]706 N QUEEN ST KINSTON NG 28501] Southeast Region Massey,Barbara Phase 2
1111]2208 DICKINSON AVE GREENVILLE NC 27834[ Southeast Region Massey,Barbara Phase 2
11121718 WARD BLVD WILSON NC 27893] Southeast Region Massey,Barbara Phase 2
1113/1100 N MIAMI BLVD STE 109 DURHAM NC 27703{ Southeast Region Massey,Barbara Phase 2
11201316 N EASTERN BLVD {STE 204 FAYETTEVILLE NC 28301] Southeast Region Massey,Barbara Phase 2
1121]3308 BRAGG BLVD JSTE 104 FAYETTEVILLE NC 28303} Southeast Region Massey,Barbara Phase 2
112313101 FAYETTEVILLE RD |SUITE G LUMBERTON NC 28358]Southeast Region Massey,Barbara Phase 2
112415539 MCPHAIL ST HOPE MILLS NC 28348] Southeast Region Massey,Barbara Phase 2
93116111 SOUTH BLVD CHARLOTTE NC 28217] Southeast Region Williams,Stacy Phase 2
93213301 FREEDOM DR STEB CHARLOTTE NC 28208] Southeast Region Williams,Stacy Phase 2
9561901 N WENDOVER RD STEB CHARLOTTE NC 28211] Southeast Region Williams, Stacy Phase 2
979]228 EASTWAY DR {STE 4 CHARLOTTE NC 28213] Southeast Region Williams, Stacy Phase 2
980]2107 BEATTIES FORD RD ISTE 1 CHARLOTTE NC 28216] Southeast Region Williams,Stacy Phase 2
981)2597 W FRANKLIN BLVD GASTONIA NC 28052] Southeast Region Williams,Stacy Phase 2
98211015 E CONE BLVD ISTEA GREENSBORO NC 27405] Southeast Region Williams,Stacy Phase 2
983/946 E BESSEMER AVE GREENSBORO NC 27405] Southeast Region Williams, Stacy Phase 2
9841110 EAST FAIRFIELD ROAD SUITE 120 HIGH POINT NC 27263{ Southeast Region Williams,Stacy Phase 2
98511529 W INNES ST SALISBURY NC 28144[ Southeast Region Williams,Stacy Phase 2
98713310 WILKINSON BLVD (CHARLOTTE NC 28208] Southeast Region Williams,Stacy Phase 2

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9981151 E BROAD ST STATESVILLE NC 28677] Southeast Region Williams,Stacy Phase 2
1118]3583 N PATTERSON AVE WINSTON-SALEM NC 27105] Southeast Region Williams, Stacy Phase 2
1119]1499 NEW WALKERTOWN RD WINSTON-SALEM NC 27101] Southeast Region Williams, Stacy Phase 2

965/4402 MARKET ST WILMINGTON NC 28403] Southeast Region Massey,Barbara Phase 2

916]2706 FREEDOM DR # B CHARLOTTE NC 28208] Southeast Region Williams, Stacy Phase 2
22071111 COORS BLVD NW {STE ci ALBUQUERQUE NM 87121] South Texas Region |Martinez,Rosa Phase 2
2208/4001 SAN MATEO BLVD NE |STED ALBUQUERQUE NM | 87110]South Texas Region [Martinez,Rosa Phase 2
2210/3200 COORS BLVD NW STEF ALBUQUERQUE NM 87120] South Texas Region [Martinez,Rosa Phase 2
222211521 EUBANK BLVD NE ALBUQUERQUE NM 87112] South Texas Region [Martinez,Rosa Phase 2
22281333 MONTANO RD NW STEE ALBUQUERQUE NM 87107] South Texas Region [Martinez,Rosa Phase 2
222912300 N MAIN ST STE 211 LAS CRUCES NM 88001[South Texas Region [Martinez,Rosa Phase 2
2201/4720 CENTRAL AVE SE ALBUQUERQUE NM 87108|South Texas Region [Martinez,Rosa Phase 2
2220/1609 ISLETA BLVD SW STEB ALBUQUERQUE NM 87105] South Texas Region [Martinez,Rosa Phase 2
1001]1409 E 9TH ST CLEVELAND OH | 44114]Midwest Region McCollum,Mark Phase 2
1006715500 EUCLID AVE EAST CLEVELAND OH 44112]Midwest Region MecCollum,Mark Phase 2
1011]11411 BUCKEYE RD (CLEVELAND OH 44104[Midwest Region McCollum,Mark Phase 2
1012]2167 S TAYLOR RD UNIVERSITY HEIGHTS OH | 44118]Midwest Region McCollum,Mark Phase 2
1025]21177 EUCLID AVE CLEVELAND OH | 44117]Midwest Region McCollum,Mark Phase 2
1026]14101 KINSMAN RD (CLEVELAND OH 44120]Midwest Region McCollum,Mark Phase 2
1029/4981 VINE ST CINCINNATI OH | 45217]Midwest Region McCollum,Mark Phase 2
1033/2516 VICTORY PKWY CINCINNATI OH 45206]Midwest Region McCollum,Mark Phase 2
1045]502 SOUTH ST SE WARREN OH | 44483]Midwest Region McCollum,Mark Phase 2
1090/3516 W SIEBENTHALER AVE DAYTON ‘OH 45406][Midwest Region MecCollum,Mark Phase 2
241473306 MAHONING AVE YOUNGSTOWN OH | 44509]Midwest Region McCollum,Mark Phase 2
2417/4040 YOUNGSTOWN POLAND RD YOUNGSTOWN OH 44514[Midwest Region McCollum,Mark Phase 2
242413029 BELMONT AVE YOUNGSTOWN OH | 44505] Midwest Region McCollum,Mark Phase 2
2425[2550 1/2 MARKET ST YOUNGSTOWN OH | 44507]Midwest Region McCollum,Mark Phase 2
1017]15701 BROADWAY AVE MAPLE HEIGHTS ‘OH 44137|Midwest Region Samovsky,Ryan Phase 2
1018]10589 SAINT CLAIR AVE (CLEVELAND OH 44108]Midwest Region Samovsky,Ryan Phase 2
1022/1420 BRITTAIN RD AKRON OH 44310) Midwest Region [Sarnovsky,Ryan Phase 2
10234731 0 HARVARD AVE {STE B CLEVELAND OH 44105) Midwest Region {Samovsky,Ryan Phase 2

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1024{5311 MEMPHIS AVE (RELOCATED DEC 2011) [CLEVELAND OH 44144] Midwest Region ]Sarnovsky,Ryan Phase 2
104213040 OBERLIN AVE LORAIN OH | 44052|Midwest Region |Sarnovsky,Ryan Phase 2
1066]11648 LORAIN AVE (CLEVELAND OH 44111]Midwest Region Samovsky,Ryan Phase 2
1069/7933 EUCLID AVE [STE 33 CLEVELAND OH 44103] Midwest Region {Samovsky,Ryan Phase 2
1071}1499 E 55TH ST CLEVELAND OH 44103|Midwest Region |Sarnovsky,Ryan Phase 2
1072]2723 S ARLINGTON RD AKRON OH 44312|Midwest Region Samovsky,Ryan Phase 2
1016]14002 TRISKETT RD CLEVELAND OH 44111] Midwest Region [Sarnovsky,Ryan Phase 2
1920]610 NW SHERIDAN RD LAWTON OK 73505] Mid South Region Woods, Claretta Phase 2
201416601 NW EXPRESSWAY OKLAHOMA CITY OK 73132|Mid South Region Woods,Claretta Phase 2
2017/900 S BROADWAY JEDMOND OK 73034] Mid South Region Woods,Claretta Phase 2
2021]216 NW 23RD ST (OKLAHOMA CITY OK 73103{Mid South Region Woods, Claretta Phase 2
20341624 S$ AIR DEPOT BLVD {STE A [MIDWEST CITY OK 731 10) Mid South Region Woods, Claretta Phase 2
2046]10664 E 31ST ST suite B TULSA OK 74146) Mid South Region Woods, Claretta Phase 2
2048/4535 NW 23RD ST |STE 804 OKLAHOMA CITY OK 73127|Mid South Region Woods, Claretta Phase 2
2051/1425 SW 59TH ST (OKLAHOMA CITY OK 7H 19) Mid South Region Woods, Claretta Phase 2
2054]275 S LEWIS AVE TULSA OK 74104] Mid South Region Woods, Claretta Phase 2
2055/6230 N PEORIA AVE TULSA OK 74126] Mid South Region Woods, Claretta Phase 2
2056/6005 S PEORIA AVE TULSA OK 74105{Mid South Region Woods, Claretta Phase 2
20571845 N SHERIDAN RD TULSA OK 74115] Mid South Region Woods,Claretta Phase 2
205811245 S GARNETT RD TULSA OK 74128|Mid South Region Woods, Claretta Phase 2
2059/250 S HIGHWAY 97 SAND SPRINGS OK 74063] Mid South Region Woods, Claretta Phase 2
2060]2020 S MAIN ST SAPULPA OK 74066] Mid South Region Woods, Claretta Phase 2
2061/1507 W 51ST ST TULSA OK 74107] Mid South Region Woods,Claretta Phase 2
2070/13427 N PENNSYLVANIA AVE (OKLAHOMA CITY OK 73120]{Mid South Region Woods, Claretta Phase 2
3126]820 PACIFIC BLVD SE ALBANY OR | 97321]Southwest Region [Brown,Richard Phase 2
3140/1177 OST [SPRINGFIELD OR | 97477}Southwest Region | Brown,Richard Phase 2
3141]895 W 7TH AVE JEUGENE OR | 97402]Southwest Region | Brown,Richard Phase 2
3151]244 NE FRANKLIN AVE SUITE 6 BEND OR 97701] Southwest Region Brown,Richard Phase 2
3152/2352 POPLAR DR MEDFORD OR | 97504)Southwest Region | Brown,Richard Phase 2

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3159]412 SE 7TH ST GRANTS PASS OR 97526] Southwest Region Brown, Richard Phase 2
3165/4378 RIVER RDN KEIZER OR 97303]Southwest Region [Brown,Richard Phase 2
31911733 NE STEPHENS ST [STE 5 ROSEBURG OR 97470] Southwest Region [Brown,Richard Phase 2
319211131 LANCASTER DR NE [SALEM OR 97301}]Southwest Region |Brown, Richard Phase 2
3193]4975 COMMERCIAL ST SE [SALEM OR 97302]Southwest Region  [Brown,Richard Phase 2
3110]2722 N LOMBARD ST PORTLAND OR 97217]Southwest Region [Soffe,Julie Phase 2
3113/16502 SE DIVISION ST STEH PORTLAND OR 97236] Southwest Region Soffe,Julie Phase 2
3161}530 SE 10TH AVE HILLSBORO OR 97123]Southwest Region  [Soffe,Julie Phase 2
3168]865 NE HIGHWAY 99W STEA MCMINNVILLE OR 97128] Southwest Region Soffe,Julie Phase 2
3185/1630 BEAVERCREEK RD STE J (OREGON CITY OR 97045] Southwest Region Soffe,Julie Phase 2
3187411701 SE 82ND AVE PORTLAND OR 97086]Southwest Region  |Soffe,Julie Phase 2
3188/2929 SE POWELL BLVD PORTLAND OR 97202] Southwest Region Soffe,Julie Phase 2
3189]5600 NE ML KING BLVD PORTLAND OR 97211}Southwest Region [Soffe,Julie Phase 2
3195111705 SW PACIFIC HWY ISTE Y TIGARD OR 97223] Southwest Region Soffe,Julie Phase 2
3196]29955 SW BOONES FERRY RD STEH WILSONVILLE OR 97070] Southwest Region Soffe,Julie Phase 2
3199411902 SE STARK ST PORTLAND OR 97216]Southwest Region [Soffe,Julie Phase 2
3105/6845 S BROADWAY ICOOS BAY OR 97420] Southwest Region Brown,Richard Phase 2
3109]3110 SW CEDAR HILLS BLVD [BEAVERTON OR 97005]Southwest Region |Soffe,Julie Phase 2
537}1420 W WELLS BRANCH PKWY STE 280 PFLUGERVILLE x 78660]South Texas Region [Open 205 Phase 2
32811914 E BELT LINE RD CARROLLTON TX 75006]DFW Region Ray,Amy Phase 2
448110994 FUQUA ST STEB HOUSTON x 77089} Houston Region Coffey,ChasityA Phase 2
267/424 N YARBROUGH DR ISTE A JEL PASO TX 79915]South Texas Region [Martinez,Rosa Phase 2
318]3029 SOUTH FWY FORT WORTH TX 76104] DFW Region Munoz, Daniel Phase 2
6411/5634 WEBER RD ISTE A CORPUS CHRISTI TX 78411|South Texas Region [Garcia,Christina Phase 2
1317/4215 5 BROADWAY AVE TYLER TX 75701|{Mid South Region Burch Denise Phase 2
138313833 STATE HIGHWAY 64 W TYLER TX 75704)Mid South Region  [Burch,Denise Phase 2
1913]2513 RICHMOND RD TEXARKANA TX 75503{Mid South Region Burch,Denise Phase 2
221619130 DYER ST JEL PASO TX 79924{South Texas Region |Martinez,Rosa Phase 2
5038458 FREDERICKSBURG RD [SAN ANTONIO TX 78229]South Texas Region |Sauceda,Eva Phase 2
40218625 MESA DR HOUSTON TX 77028] Houston Region [Brock,Kandis Phase 2
447119757 EASTEX FWY HUMBLE TX 77338] Houston Region Brock,Kandis Phase 2
4541203 W GREENS RD HOUSTON TX 77067] Houston Region Brock,Kandis Phase 2

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466]810 FM 1960 RD

HOUSTON TX 77090}Houston Region Brock,Kandis Phase 2

140216464 W LITTLE YORK RD ISTEA HOUSTON TX 77091}Houston Region [Brock,Kandis Phase 2
141073103 FM 1960 RD W STEB HUMBLE TX 77338] Houston Region Brock,Kandis Phase 2
1441111401 NORTH FWY HOUSTON TX 77060] Houston Region [Brock,Kandis Phase 2
1446]202 SAWDUST RD STE 104 WOODLANDS x 77380] Houston Region Brock,Kandis Phase 2
1481]928 E TIDWELL RD HOUSTON TX 77022] Houston Region Brock,Kandis Phase 2
1710/9415 JENSEN DR HOUSTON TX 77093] Houston Region [Brock,Kandis Phase 2
1711]2815 COLLINGSWORTH ST HOUSTON TX 77026] Houston Region Brock,Kandis Phase 2
1712]1303 W 11TH ST HOUSTON TX 77008] Houston Region [Brock,Kandis Phase 2
1717]622 W LITTLE YORK RD HOUSTON TX 77091] Houston Region Brock,Kandis Phase 2
9409/3824 ATASCOCITA RD STE 116 HUMBLE x 77396] Houston Region Brock,Kandis Phase 2
1320]215 S HIGH ST LONGVIEW TX 75601][Mid South Region Burch,Denise Phase 2
1321]2101 W GENTRY PKWY TYLER TX 75702|Mid South Region [Burch,Denise Phase 2
1391]2309 GILMER RD LONGVIEW TX 75604|Mid South Region  [Burch,Denise Phase 2
13921319 E FRONT ST TYLER TX 75702|Mid South Region [Burch,Denise Phase 2
193313826 TROUP HWY STED TYLER TX 75703{Mid South Region Burch,Denise Phase 2
4683/4502 GRIGGS RD STEA HOUSTON TX 77021}Houston Region Coffey,ChasityA Phase 2
1433]9539 MAIN ST HOUSTON TX 77025] Houston Region Coffey, ChasityA Phase 2
143472001 FANNIN ST HOUSTON TX 77002]Houston Region Coffey,ChasityA Phase 2
143518304 BROADWAY ST HOUSTON TX 77061} Houston Region Coffey, ChasityA Phase 2
144212209 3 MAIN ST STAFFORD TX 77477] Houston Region Coffey, ChasityA Phase 2
170191103 N VELASCO ST ISTEA AANGLETON TX 77515] Houston Region Coffey, ChasityA Phase 2
17031000 E SOUTH ST ALVIN TX 77511] Houston Region Coffey, ChasityA Phase 2
1704/1407 HIGHWAY 332 ICLUTE TX 77531] Houston Region Coffey, ChasityA Phase 2
1705]2018 N MAIN ST PEARLAND TX 77581} Houston Region Coffey, ChasityA Phase 2
1708]6307 HIGHWAY 6 MISSOURI CITY TX 77459] Houston Region Coffey, ChasityA Phase 2
176411715 W BELLFORT ST STED STAFFORD TX 77477] Houston Region Coffey,ChasityA Phase 2
9413]13548 BEECHNUT ST [STE 200 HOUSTON TX 77083] Houston Region Coffey, ChasityA Phase 2
31573117 AL LIPSCOMB WAY DALLAS TX 75215]DFW Region Flores,Christian Phase 2
323)3418 OAK LAWN AVE DALLAS TX 75219]DFW Region Flores,Christian Phase 2

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366/383 PIPELINE RD BEDFORD TX 76022]DFW Region Flores,Christian Phase 2
380]1095 WYNNEWOOD PLZ DALLAS TX 75224|DFW Region Flores,Christian Phase 2
38971125 W 6TH ST TIRVING TX 75060]DFW Region Flores, Christian Phase 2
395]3801 GUS THOMASSON RD MESQUITE TX 75150]DFW Region Flores,Christian Phase 2
1306/5606 BROADWAY BLVD GARLAND TX 75043[DFW Region Flores,Christian Phase 2
130915920 SAMUELL BLVD DALLAS TX 75228]DFW Region Flores,Christian Phase 2
1313]3905 E BELKNAP ST HALTOM CITY TX 76111,DFW Region Flores,Christian Phase 2
133013330 N GALLOWAY AVE STE 275 MESQUITE TX 75150]DFW Region Flores,Christian Phase 2
1387]2248 CENTRAL DR {STE 108 {BEDFORD TX 76021)DFW Region Flores,Christian Phase 2
1388]508 W EULESS BLVD ISTE 1 JEULESS TX 76040]DFW Region Flores,Christian Phase 2
139813200 S LANCASTER RD STE 170B DALLAS TX 75216|DFW Region Flores,Christian Phase 2
1816]11923 ELAM RD STE 102 BALCH SPRINGS TX 75180]DFW Region Flores,Christian Phase 2
184213328 ELSIE FAYE HEGGINS DALLAS TX 75215|DFW Region Flores,Christian Phase 2
184319545 LAKE JUNE RD DALLAS TX 75217]DFW Region Flores,Christian Phase 2
191213624 OLD JACKSBORO HWY STE 104 WICHITA FALLS TX 76302]DFW Region Flores,Christian Phase 2
192713605 KEMP BLVD WICHITA FALLS TX 76308]DFW Region Flores,Christian Phase 2
54415425 S PADRE ISLAND DR STE 105 (CORPUS CHRISTI TX 78411] South Texas Region [Garcia,Christina Phase 2
54611508 WILDCAT DR PORTLAND TX 78374]South Texas Region }Garcia,Christina Phase 2
54811805 S PADRE ISLAND DR SUITE 400 (CORPUS CHRISTI TX 78416] South Texas Region [Garcia,Christina Phase 2
1451]4130 AYERS ST (CORPUS CHRISTI TX 78415] South Texas Region [Garcia,Christina Phase 2
145313765 LEOPARD ST (CORPUS CHRISTI TX 78408] South Texas Region [Garcia,Christina Phase 2
145611305 S PORT AVE CORPUS CHRISTI TX 78405]South Texas Region |Garcia,Christina Phase 2
145711602 N LAURENT ST ISTE A VICTORIA TX 77901}South Texas Region |Garcia,Christina Phase 2
153711209 WALDRON RD (CORPUS CHRISTI TX 78418] South Texas Region [Garcia,Christina Phase 2
153872009 HIGHWAY 35 N ROCKPORT TX 78382]South Texas Region |Garcia,Christina Phase 2
1539/1921 W WHEELER AVE STEB JARANSAS PASS TX 78336][South Texas Region [Garcia,Christina Phase 2
176512004 N SAINT MARYS ST {BEEVILLE TX 78102]South Texas Region |Garcia,Christina Phase 2
543/727 S 14TH ST KINGSVILLE TX 78363] South Texas Region |Garza,Maria Phase 2
54711132 E MAIN ST ALICE TX 78332]South Texas Region |Garza,Maria Phase 2
695/226 E MAIN AVE ROBSTOWN TX 78380]South Texas Region }Garza,Maria Phase 2
598795 W US HIGHWAY 77 {SUITE B {SAN BENITO TX 78586]South Texas Region |Garza,Maria Phase 2
14591905 PAREDES LINE RD |BROWNSVILLE TX 78521]South Texas Region }Garza,Maria Phase 2
1460/2921 BOCA CHICA BLVD STED BROWNSVILLE TX 78521}South Texas Region }Garza,Maria Phase 2

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1461]623 W HARRISON AVE HARLINGEN TX 78550] South Texas Region [Garza,Maria Phase 2
1466]1101 N CAGE BLVD ISTE 14 PHARR TX 78577]|South Texas Region |Garza,Maria Phase 2
1469/1025 N TEXAS BLVD STE 12A IWESLACO TX 78596] South Texas Region [Garza,Maria Phase 2
151412812 W NOLANA AVE ISTE 140 MCALLEN TX 78504]South Texas Region |Garza,Maria Phase 2
1527]515 E UNIVERSITY DR EDINBURG TX 78539]South Texas Region |Garza,Maria Phase 2
15341940 S 77 SUNSHINE STRIP HARLINGEN TX 78550] South Texas Region [Garza,Maria Phase 2
15621702 N 13TH ST HARLINGEN TX 78550]South Texas Region |Garza,Maria Phase 2
1761]162 N TEXAS AVE MERCEDES TX 78570|South Texas Region |Garza,Maria Phase 2
458113640 TOMBALL PKWY HOUSTON TX 77086] Houston Region Gordon,Brandy Phase 2
46411146 W DALLAS ST (CONROE TX 77301] Houston Region Gordon,Brandy Phase 2
47311400 GRAHAM DR STED TOMBALL TX 77375] Houston Region Gordon,Brandy Phase 2
47913304 E 29TH ST BRYAN TX 77802] Houston Region Gordon,Brandy Phase 2
48011211 N LOOP 336 W ISTE C ICONROE TX 77301} Houston Region Gordon,Brandy Phase 2
140973011 HIGHWAY 30 W STE 204 HUNTSVILLE TX 77340] Houston Region Gordon,Brandy Phase 2
1491123741 HIGHWAY 59 ISTE 6 PORTER TX 77365] Houston Region Gordon,Brandy Phase 2
1494120530 I-45 N STEF SPRING TX 77373] Houston Region Gordon,Brandy Phase 2
1733/1734 W MOUNT HOUSTON RD HOUSTON TX 77038] Houston Region Gordon,Brandy Phase 2
17774110 TRULY PLZ CLEVELAND TX 77327} Houston Region Gordon,Brandy Phase 2
410/5510 BELLAIRE BLVD STEB HOUSTON TX 77081 [Houston Region (Guice Adrienne Phase 2
411]6883 S GESSNER RD HOUSTON TX 77036] Houston Region Guice, Adrienne Phase 2
43117542 W BELLFORT ST HOUSTON TX 77071} Houston Region Guice Adrienne Phase 2
446]12331 FONDREN RD HOUSTON TX 77035] Houston Region Guice, Adrienne Phase 2
472111840 WESTHEIMER RD HOUSTON TX 77077] Houston Region Guice, Adrienne Phase 2
49819819 BISSONNET ST {STE Vv HOUSTON TX 77036} Houston Region Guice, Adrienne Phase 2
1428] 10804 S POST OAK RD |STE 350 HOUSTON TX 77035]Houston Region Guice, Adrienne Phase 2
1436]14708 HIRAM CLARKE RD STEC HOUSTON TX 77053] Houston Region Guice,Adrienne Phase 2
1448/2838 S HIGHWAY 6 S STEC HOUSTON TX 77082] Houston Region Guice Adrienne Phase 2
1499115948 S POST OAK RD ISTE J HOUSTON TX 77053} Houston Region Guice, Adrienne Phase 2
175579535 WESTHEIMER RD HOUSTON TX 77063] Houston Region Guice,Adrienne Phase 2
1760/2533 SOUTHMORE BLVD STEA HOUSTON TX 77004]{Houston Region Guice,Adrienne Phase 2
4361/6848 SPENCER HWY ISTE B PASADENA TX 77505] Houston Region Lopez,Gabriela Phase 2
44919201 CULLEN BLVD HOUSTON TX 77051} Houston Region Lopez,Gabriela Phase 2
48111348 SOUTHMORE AVE PASADENA TX 77502] Houston Region Lopez,Gabriela Phase 2
1413]100 E NASA PKWY [SUITE 77A WEBSTER TX 77598] Houston Region Lopez,Gabriela Phase 2
1415/4010 FAIRMONT PKWY STE 100 PASADENA TX 77504] Houston Region Lopez,Gabriela Phase 2

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1495/6408 MLK BLVD HOUSTON TX 77033] Houston Region Lopez,Gabriela Phase 2
17021379 W MAIN ST LEAGUE CITY TX 77573] Houston Region Lopez,Gabriela Phase 2
1706]5204 FM 1765 {SUITE F TEXAS CITY TX 77591} Houston Region Lopez,Gabriela Phase 2
1707]2705 61ST ST IsTEA GALVESTON TX 77551} Houston Region Lopez,Gabriela Phase 2
174112516 FM 517 RDE DICKINSON TX 77539] Houston Region Lopez,Gabriela Phase 2
1745]4130 E LUCAS DR ISTEA [BEAUMONT TX 77708] Houston Region Lopez,Gabriela Phase 2
1746/3614 HIGHWAY 365 NEDERLAND TX 77627} Houston Region Lopez,Gabriela Phase 2
174713109 EDGAR BROWN DR STEG ORANGE TX 77630] Houston Region Lopez,Gabriela Phase 2
17481830 N MAIN ST VIDOR TX 77662| Houston Region Lopez,Gabriela Phase 2
1770]3464 PALMER HWY TEXAS CITY TX 77590] Houston Region Lopez,Gabriela Phase 2

269112135 MONTWOOD DR {STE 103 JEL PASO TX 79936]South Texas Region |Martinez,Rosa Phase 2

2682/8838 VISCOUNT BLVD IsTE J JEL PASO TX 79925] South Texas Region |Martinez,Rosa Phase 2

2684/4700 MONTANA AVE EL PASO TX 79903{South Texas Region [Martinez,Rosa Phase 2
221715070 DONIPHAN DR ISTEC JEL PASO TX 79932]South Texas Region |Martinez,Rosa Phase 2
2218/10755 N LOOP DR STEE SOCORRO TX 79927] South Texas Region [Martinez,Rosa Phase 2

331]2243 S COOPER ST ARLINGTON TX 76013]DFW Region Munoz,Daniel Phase 2

360]9096 HIGHWAY 80 W FORT WORTH TX 76116]DFW Region Munoz,Daniel Phase 2
1307/6334 MEADOWBROOK DR FORT WORTH TX 76112]DFW Region Munoz,Daniel Phase 2
1308]251 SW WILSHIRE BLVD [STE 104 [BURLESON TX 76028)DFW Region Munoz,Daniel Phase 2
133614749 E LANCASTER AVE FORT WORTH TX 76103| DFW Region Munoz,Daniel Phase 2
135515820 CAMP BOWIE BLVD FORT WORTH TX 76107]DFW Region Munoz,Daniel Phase 2
1356/4801 LITTLE RD STE 127 [ARLINGTON TX 76017]DFW Region Munoz, Daniel Phase 2
136713409 MANSFIELD HWY FOREST HILL TX 76119]DFW Region Munoz, Daniel Phase 2
1370]6213 GRANBURY RD FORT WORTH TX 76133]DFW Region Munoz,Daniel Phase 2
137119324 CLIFFORD ST STE 108 FORT WORTH TX 76108)DFW Region Munoz, Daniel Phase 2
1372}100 S RIDGEWAY DR (CLEBURNE TX 76033] DFW Region Munoz, Daniel Phase 2
1507/1105 W WACO DR WACO TX 76707|/DFW Region Munoz, Daniel Phase 2
15211720 N VALLEY MILLS DR WACO TX 76710]DFW Region Munoz,Daniel Phase 2
1904/6280 MCCART AVE STE 100 FORT WORTH TX 761 S3/DFW Region Munoz, Daniel Phase 2
1935]4201 E BERRY ST {STE 22 FORT WORTH TX 76105] DFW Region Munoz,Daniel Phase 2
1936]4701 S COOPER ST jSTE 101 ARLINGTON TX 76017)DFW Region Munoz,Daniel Phase 2
19381980 N WALNUT CREEK DR |sTe 120 MANSFIELD TX 76063]DFW Region Munoz,Daniel Phase 2
9406]1402 E MILAM ST |STE 700 MEXIA TX 76667|DFW Region Munoz,Daniel Phase 2

5§50]5341 CAMERON RD SUITE B 548. AUSTIN TX 78723{South Texas Region [Open 205 Phase 2

5514730 W STASSNEY LN STE 150 AUSTIN TX 78745[ South Texas Region [Open 205 Phase 2

558]8501 BURNET RD {STE c AUSTIN TX 78757|South Texas Region JOpen 205 Phase 2

56412541 S 1-35 jSTE 300 ROUND ROCK TX 78664][South Texas Region JOpen 205 Phase 2

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567|2237 E RIVERSIDE DR |STE 102 AUSTIN TX 78741} South Texas Region JOpen 205 Phase 2
151813301 E RANCIER AVE |STE 103D KILLEEN TX 76543] South Texas Region JOpen 205 Phase 2
1520]1416 S 31ST ST TEMPLE TX 76504]South Texas Region JOpen 205 Phase 2
152211040 S FORT HOOD ST KILLEEN TX 76541[South Texas Region JOpen 205 Phase 2
15237205 W RANCIER AVE STEK KILLEEN TX 76541] South Texas Region [Open 205 Phase 2
1524/1543 E BUSINESS 190 (COPPERAS COVE TX 76522] South Texas Region [Open 205 Phase 2

3201201 W MAIN ST GRAND PRAIRIE TX 75050]DFW Region Open 723 Phase 2

9341/1409 N BELT LINE RD {IRVING TX 75061,]DFW Region (Open 723 Phase 2

34212230 N COLLINS ST ARLINGTON TX 76011)DFW Region Open 723 Phase 2

355]2905 ARKANSAS LN STE 110 GRAND PRAIRIE TX 75052,DFW Region Open 723 Phase 2

38411120 W CAMP WISDOM RD DALLAS TX 75232]DFW Region Open 723 Phase 2
1303/6304 LAKE WORTH BLVD LAKE WORTH TX 76135]DFW Region (Open 723 Phase 2
1329]3714 W LEDBETTER DR ISTEA DALLAS TX 75233]DFW Region Open 723 Phase 2
1335934 N COLLINS ST STEB ARLINGTON TX 76011]DFW Region (Open 723 Phase 2
1339]3306 W CAMP WISDOM RD [STE 120 DALLAS TX 75237)DFW Region Open 723 Phase 2
1351]/410 E PIONEER PKWY STE 200 GRAND PRAIRIE TX 75051,]DFW Region Open 723 Phase 2
135413250 W PLEASANT RUN RD STE 135 |LANCASTER TX 75146|DFW Region Open 723 Phase 2
1362]2802 W MACARTHUR BLVD JIRVING TX 75062|DFW Region Open 723 Phase 2
1801]223 E FM 1382 STE 136 (CEDAR HILL TX 75104, DFW Region ‘Open 723 Phase 2
1828/130 N HIGHWAY 77 STEA WAXAHACHIE TX 75165{DFW Region (Open 723 Phase 2
190675516 RIVER OAKS BLVD |STE B RIVER OAKS TX 76114]DFW Region Open 723 Phase 2
9400]719 N HAMPTON RD |STE 607 DESOTO TX 7511 S|DFW Region Open 723 Phase 2
9405]1029 N SAGINAW BLVD STE F8 SAGINAW TX 761 79]DFW Region Open 723 Phase 2

42914507 FM 1960 RD W HOUSTON TX 77069] Houston Region Parasiliti, Daniel Phase 2

442113509 NORTHWEST FWY HOUSTON TX 77040] Houston Region Parasiliti, Daniel Phase 2

44519 UVALDE RD STE3 HOUSTON TX 77015]{ Houston Region Parasiliti, Daniel Phase 2

45611414 GESSNER RD HOUSTON TX 77080] Houston Region Parasiliti, Daniel Phase 2

49513010 GARTH RD BAYTOWN TX 77521]{Houston Region Parasiliti, Daniel Phase 2
1401]13315 EAST FWY HOUSTON TX 77015] Houston Region Parasiliti, Daniel Phase 2
1417]4607 HIGHWAY 6 N HOUSTON TX 77084] Houston Region Parasiliti, Daniel Phase 2
1480/4611 GARTH RD STE 300 BAYTOWN TX 77521] Houston Region Parasiliti, Daniel Phase 2
1482]10959 CYPRESS CREEK PKWY STEE HOUSTON TX 77070}Houston Region Parasiliti, Daniel Phase 2
1486/1789 FRY RD KATY TX 77449] Houston Region Parasiliti, Daniel Phase 2
1489116257 FM 529 RD HOUSTON TX 77095] Houston Region Parasiliti, Daniel Phase 2
17266037 FRY RD STE 186 KATY TX 77449] Houston Region Parasiliti, Daniel Phase 2
9401]2123 HIGHWAY 90 {STE 2 CROSBY TX 77532] Houston Region Parasiliti, Daniel Phase 2

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35419730 ABRAMS RD

STE 107 JDALLAS TX 75243] DFW Region Ray,Amy Phase 2

37513317 W WALNUT HILL LN JIRVING TX 75038] DFW Region Ray, Amy Phase 2
381]6245 RUFE SNOW DR STE 100 WATAUGA TX 761481DFW Region Ray,Amy Phase 2
3881/1060 N MAIN ST STE 113 EULESS TX 76039] DFW Region Ray,Amy Phase 2
3931105 S CENTRAL EXPY RICHARDSON TX 75080]DFW Region Ray, Amy Phase 2
1310]836 W UNIVERSITY DR DENTON TX 76201]DFW Region Ray,Amy Phase 2
1319/1324 W MAIN ST LEWISVILLE TX 75067{DFW Region Ray,Amy Phase 2
134411500 N CENTRAL EXPY PLANO: TX 75074{DFW Region Ray,Amy Phase 2
1357]1302 S TX-121 BUS ISTEB LEWISVILLE TX 75067]DFW Region Ray, Amy Phase 2
1375]419 N MAIN ST KELLER TX 76248]DFW Region Ray, Amy Phase 2
1376]121 N GREENVILLE AVE {STE E ALLEN TX 75002]DFW Region Ray, Amy Phase 2
1385]1332 S PLANO RD |STE 502 RICHARDSON TX 75081{DFW Region Ray,Amy Phase 2
1390]/401 S CENTRAL EXPY MCKINNEY TX 75069] DFW Region Ray,Amy Phase 2
18341702 LAMAR AVE PARIS TX 75460]DFW Region Ray, Amy Phase 2
184517548 PRESTON RD [STE 135 FRISCO TX 75034]DFW Region Ray, Amy Phase 2
1849]3800 MAIN ST STE 103 THE COLONY TX 75056] DFW Region Ray, Amy Phase 2
192315310 DAVIS BLVD NORTH RICHLAND HILLS |TX 76180]DFW Region Ray, Amy Phase 2
195416380 N BEACH ST STE 102 HALTOM CITY TX 76137]DFW Region Ray, Amy Phase 2
516]/4447 FREDERICKSBURG RD BALCONES HEIGHTS TX 78201] South Texas Region |Sauceda,Eva Phase 2
5171/6900 SAN PEDRO AVE [STE 107 [SAN ANTONIO TX 78216]South Texas Region |Sauceda,Eva Phase 2
§22111751 BLANCO RD SAN ANTONIO TX 78216] South Texas Region |Sauceda,Eva Phase 2
52614931 WALZEM RD WINDCREST TX 78218}]South Texas Region |Sauceda,Eva Phase 2
5§27]8515 PERRIN BEITEL RD SAN ANTONIO TX 78217] South Texas Region [Sauceda,Eva Phase 2
53412501 BANDERA RD {STE 101 {SAN ANTONIO TX 78238] South Texas Region [Sauceda,Eva Phase 2
549112803 NACOGDOCHES RD |SAN ANTONIO TX 78217]|South Texas Region |Sauceda,Eva Phase 2
5814115 HIGHWAY 35 S$ STE 19 NEW BRAUNFELS TX 78130]South Texas Region |Sauceda,Eva Phase 2
59212864 THOUSAND OAKS DR [STE 101 [SAN ANTONIO TX 78232|South Texas Region |Sauceda,Eva Phase 2
59731105 PAT BOOKER RD UNIVERSAL CITY TX 78148[South Texas Region [Sauceda,Eva Phase 2
151015748 EVERS RD {STE 102 LEON VALLEY TX 78238] South Texas Region [Sauceda,Eva Phase 2
154911500 E COURT ST ISTE 104 JSEGUIN TX 78155]South Texas Region |Sauceda,Eva Phase 2
1550/1200 HIGHWAY 80 STE 104 SAN MARCOS TX 78666] South Texas Region |Sauceda,Eva Phase 2
155415115 W WADLEY AVE STEC MIDLAND TX 79707] South Texas Region [Tomson,Zachary Phase 2
180715811 S WESTERN ST ISTE B AAMARILLO TX 79110]South Texas Region |Tomson,Zachary Phase 2
1910]1500 E AMARILLO BLVD SPC A AMARILLO: TX 79107]South Texas Region [Tomson,Zachary Phase 2
19141517 W COMMERCE ST ISTE B [BROWNWOOD TX 76801]South Texas Region |Tomson,Zachary Phase 2
1915]620 AMBLER AVE ABILENE TX 79601]South Texas Region |Tomson,Zachary Phase 2
1916]2202 N CHADBOURNE ST [SAN ANGELO TX 76903]South Texas Region |Tomson,Zachary Phase 2

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1917]808 S BIG SPRING ST MIDLAND TX 79701] South Texas Region [Tomson,Zachary Phase 2
1918]1301D 50TH ST LUBBOCK TX 794121South Texas Region |Tomson,Zachary Phase 2
191911305 E 8TH ST ODESSA TX 79761]|South Texas Region |Tomson,Zachary Phase 2
192513337 SHERWOOD WAY SAN ANGELO TX 76901]South Texas Region [Tomson,Zachary Phase 2
1928]4101 BUFFALO GAP RD ISTEA ABILENE TX 79605]South Texas Region [Tomson,Zachary Phase 2
192913517 N 1ST ST ABILENE TX 79603]South Texas Region |Tomson,Zachary Phase 2
193415412 SLIDE RD STE 400 LUBBOCK TX 79414[South Texas Region [Tomson,Zachary Phase 2
19401502 AVENUE Q LUBBOCK TX 79401}South Texas Region |Tomson,Zachary Phase 2
1942]4646 34TH ST LUBBOCK TX 79410[South Texas Region [Tomson,Zachary Phase 2
586/2308 GUADALUPE ST LAREDO TX 78043]South Texas Region |Tovar,Juan Phase 2
587]500 W CALTON RD STE 101 LAREDO TX 78041] South Texas Region |Tovar,Juan Phase 2
588]3502 SAN BERNARDO AVE LAREDO TX 78041}South Texas Region |Tovar,Juan Phase 2
1465]2109 N10TH ST MCALLEN TX 78501] South Texas Region |Tovar,Juan Phase 2
14671630 5 23RD ST MCALLEN TX 78501]South Texas Region [Tovar,Juan Phase 2
1468/1001 S 10TH ST ISTE | MCALLEN TX 78501]South Texas Region [Tovar,Juan Phase 2
14721102 W 9TH ST MISSION TX 78572] South Texas Region [Tovar,Juan Phase 2
1516/2905 S ZAPATA HWY ISTE 104 LAREDO TX 78046] South Texas Region [Tovar,Juan Phase 2
154214311 CLARK BLVD STE J LAREDO x 78043] South Texas Region [Tovar,Juan Phase 2
15671111 E EXPRESSWAY 83 MISSION TX 78572] South Texas Region [Tovar,Juan Phase 2
1749]4023 E US HIGHWAY 83 [STE 108 RIO GRANDE CITY TX 78582]South Texas Region |TovarJuan Phase 2
176213608 PECAN BLVD MCALLEN TX 78501] South Texas Region [Tovar,Juan Phase 2
177411102 MARSHALL ST STE 1 LAREDO x 78045] South Texas Region [Tovar,Juan Phase 2
50217114 W MILITARY DR SAN ANTONIO TX 78227] South Texas Region [Valle,Daniel Phase 2
510]828 SW MILITARY DR SAN ANTONIO TX 78221] South Texas Region [Valle,Daniel Phase 2
5111931 S WW WHITE RD [SAN ANTONIO TX 78220 h Texas Region [Valle,Daniel Phase 2
5121803 CASTROVILLE RD STE 133 SAN ANTONIO x 78237] South Texas Region [Valle,Daniel Phase 2
513]534 N NEW BRAUNFELS AVE [SAN ANTONIO TX 78202]South Texas Region |Valle,Daniel Phase 2
515]6893A BANDERA RD LEON VALLEY TX 78238{South Texas Region [Valle,Daniel Phase 2
5§23]8248 MARBACH RD we SAN ANTONIO x 78227] South Texas Region [Valle,Daniel Phase 2
525]1960 SW MILITARY DR [SAN ANTONIO TX 78221}South Texas Region |Valle,Daniel Phase 2
53216003 3 1H 35 353 SAN ANTONIO x 78211]South Texas Region [Valle,Daniel Phase 2

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584/231 SAN PEDRO AVE SAN ANTONIO TX 78205] South Texas Region [Valle,Daniel Phase 2
590111600 BANDERA RD STE 118 SAN ANTONIO TX 78250]South Texas Region [Valle,Daniel Phase 2
1508/3226 NOGALITOS STE 101 SAN ANTONIO TX 78225{ South Texas Region [Valle,Daniel Phase 2
1509]5110 RIGSBY AVE SAN ANTONIO TX 78222|South Texas Region [Valle,Daniel Phase 2
1530/7901 CULEBRA RD SAN ANTONIO TX 78251]South Texas Region [Valle,Daniel Phase 2
210472139 LAMAR AVE MEMPHIS TN 38114]Mid South Region Anderson,Renita Phase 3
250612620 MADISON AVE JINDIANAPOLIS 46225] Midwest Region Bledsoe, Ebori Phase 3
601/1251 W PRATT ST [BALTIMORE |p | 21223]Northeast Region OseiApponkuo,Hweekor [Phase 3
251320 N BROADWAY STE J DENVER co 80203] Southwest Region Roberts, Matthew Phase 3
2503)2435 N SHERMAN DR {INDIANAPOLIS I" 46218] Midwest Region Taylor,Rishard Phase 3
2362]1532 UNIVERSITY AVE W STE 100 ST PAUL MN 55104) Midwest Region (Cassin, Tanya Phase 3
2701/1535 E CENTRAL AVE WICHITA KS 67214) Mid South Region Beasley,Rhonda Phase 3
210216416 COLONEL GLENN RD LITTLE ROCK AR 72204] Mid South Region Jones,Daisy Phase 3
2404/128 CHARTIERS AVE MCKEES ROCKS PA 15136] Northeast Region |McDanel,Diana Phase 3
2107/5169 WINCHESTER RD MEMPHIS TN 38118]Mid South Region Anderson,Renita Phase 3
2117/1330 E SHELBY DR MEMPHIS TN 38116]Mid South Region Anderson,Renita Phase 3
2146]4221 ELVIS PRESLEY BLVD MEMPHIS TN 38116] Mid South Region Anderson,Renita Phase 3
2148/2989 LAMAR AVE MEMPHIS TN 38114] Mid South Region Anderson,Renita Phase 3
2149/1414 GETWELL RD STE 101 MEMPHIS N 38111 [Mia South Region Anderson,Renita Phase 3
2154/3317 WINCHESTER RD MEMPHIS TN 381 18) Mid South Region Anderson,Renita Phase 3
2155/3858 E SHELBY DR MEMPHIS TN 38118]|Mid South Region Anderson,Renita Phase 3
2156/3109 S PERKINS RD MEMPHIS TN 38118] Mid South Region Anderson,Renita Phase 3
2157/5820 WINCHESTER RD MEMPHIS TN 38115]Mid South Region Anderson,Renita Phase 3
2160]7444 WINCHESTER RD {STE 107 MEMPHIS N 38125) Mid South Region Anderson,Renita Phase 3
216416657 WINCHESTER RD MEMPHIS TN 38115]Mid South Region Anderson,Renita Phase 3
2197]1882 WINCHESTER RD MEMPHIS TN 38116]Mid South Region Anderson,Renita Phase 3
2702/1606 S BROADWAY AVE WICHITA KS 67211]Mid South Region Beasley,Rhonda Phase 3
2703/1105 W PAWNEE ST WICHITA KS 67213] Mid South Region Beasley,Rhonda Phase 3
2704/6259 E 21ST STN WICHITA KS 67208] Mid South Region Beasley,Rhonda Phase 3
270647340 W CENTRAL AVE fete 103 WICHITA KS 67212)Mid South Region iBeasley,Rhonda Phase 3

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168]8590 W COLFAX AVE LAKEWOOD co 80215]Southwest Region Kendall, Stacie Phase 3

1701604 W 29TH ST PUEBLO co 81008] Southwest Region Kendall, Stacie Phase 3

176]3925 N ACADEMY BLVD (COLORADO SPRINGS co 80917] Southwest Region Kendall, Stacie Phase 3
9222/6506 S US HIGHWAY 85-87 FOUNTAIN co 80817] Southwest Region Kendall, Stacie Phase 3
9223115034 E MISSISSIPPI AVE AURORA co 80012] Southwest Region Kendall,Stacie Phase 3

24111029 N SCOTTSDALE RD [SCOTTSDALE AZ 85257] Southwest Region Lopez,Stephen Phase 3

2471760 N COUNTRY CLUB DR IMESA AZ 85201] Southwest Region Lopez,Stephen Phase 3

277)6750 E MAIN ST [STE 103 MESA 85205] Southwest Region iLopez,Stephen Phase 3

2801758 S ALMA SCHOOL RD UNIT 412 IMESA 65210]Southwest Region jLopez, Stephen Phase 3
1270/1971 HIGHWAY 95 BLDG B, STE 1 BULLHEAD CITY 86442] Southwest Region jLopez,Stephen Phase 3
1271]3787 N STOCKTON HILL RD {STE DB KINGMAN AZ 86409} Southwest Region |Lopez,Stephen Phase 3
12721989 S MAIN ST jSTE B COTTONWOOD AZ 86326] Southwest Region |Lopez,Stephen Phase 3
1273]8101 E STATE ROUTE 69 |STE A PRESCOTT VALLEY 86314] Southwest Region jLopez, Stephen Phase 3
127411578 N STATE ROUTE 89 |STE A CHINO VALLEY 86323 ]Southwest Region jLopez,Stephen Phase 3
127720 ACOMA BLVD N |sTE 4 LAKE HAVASU CITY 86403] Southwest Region |Lopez,Stephen Phase 3
2407/4528 LIBERTY AVE PITTSBURGH PA 15224] Northeast Region McDanel, Diana Phase 3
2409/1059 WASHINGTON AVE CARNEGIE PA 15106] Northeast Region McDanel, Diana Phase 3
2416]7773 MCKNIGHT RD PITTSBURGH PA 15237 | Northeast Region McDanel, Diana Phase 3
2418]206 5th AVE PITTSBURGH PA 15222] Northeast Region |McDanel, Diana Phase 3
242012351 NOBLESTOWN RD [STE B3 PITTSBURGH PA 15205] Northeast Region |McDanel, Diana Phase 3
2421]2020 E CARSON ST PITTSBURGH PA 15203] Northeast Region |McDanel, Diana Phase 3
24221710 E WARRINGTON AVE [SUITE E PITTSBURGH PA 15210] Northeast Region |McDanel, Diana Phase 3
2423/1922 SPRING GARDEN AVE PITTSBURGH PA 15212] Northeast Region |McDanel, Diana Phase 3
2426]656 LINCOLN AVE PITTSBURGH PA 15202] Northeast Region |McDanel,Diana Phase 3
2428]129 LINCOLN AVE PITTSBURGH PA 15209] Northeast Region McDanel,Diana Phase 3
2430]248 BROWNSVILLE RD MOUNT OLIVER PA 15210] Northeast Region McDanel, Diana Phase 3
245114313 WALNUT ST MCKEESPORT PA 15132] Northeast Region |McDanel, Diana Phase 3

935]3844 GEORGE WASHINGTON HWY PORTSMOUTH VA 23702] Northeast Region Open 231 Phase 3

938]4213 PORTSMOUTH BLVD PORTSMOUTH VA 23701}Northeast Region Open 231 Phase 3

94317452 TIDEWATER DR NORFOLK VA 23505] Northeast Region Open 231 Phase 3
1601]6672 INDIAN RIVER RD VIRGINIA BEACH VA 23464] Northeast Region Open 231 Phase 3
1602/6040 E VIRGINIA BEACH BLVD NORFOLK ‘AL 23502] Northeast Region ‘Open 231 Phase 3
161141333 POINDEXTER ST {st E2 CHESAPEAKE VA 23324] Northeast Region Open 231 Phase 3
16139720 CHURCH ST STE 24 NORFOLK VA 23510}Northeast Region Open 231 Phase 3

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Page 46 of 57

261816 S 52ND ST PHILADELPHIA PA 19139] Northeast Region Reed,Eva Phase 3
2619]2129 W DIAMOND ST PHILADELPHIA PA 19121] Northeast Region Reed,Eva Phase 3
2622]22 N 60TH ST ISTE 26 PHILADELPHIA PA 19139}Northeast Region Reed,Eva Phase 3
2623]2840 W GIRARD AVE PHILADELPHIA PA 19130] Northeast Region Reed,Eva Phase 3
2624/3714 N BROAD ST PHILADELPHIA PA 19140] Northeast Region Reed,Eva Phase 3
2625/4244 N BROAD ST PHILADELPHIA PA 19140] Northeast Region Reed,Eva Phase 3
2626/6303 STENTON AVE PHILADELPHIA PA 19138] Northeast Region Reed,Eva Phase 3
4141509 W 84TH AVENUE UNIT 71 FEDERAL HEIGHTS co | 80260]Southwest Region Roberts,Matthew Phase 3
4813375 N COLORADO BLVD DENVER CO | 80205}Southwest Region Roberts,Matthew Phase 3
5211600 CHAMPA ST ISTE 2 DENVER CO | 80202]Southwest Region Roberts,Matthew Phase 3
57410390 E COLFAX AVE AURORA CO | 80010}Southwest Region Roberts,Matthew Phase 3
60/636 PEORIA ST ISTEB AURORA CO | 80011}Southwest Region Roberts,Matthew Phase 3
8218800 WASHINGTON ST THORNTON CO | 80229]Southwest Region Roberts,Matthew Phase 3
84115037 E COLFAX AVE UNIT Q AURORA CO | 80011 [Southwest Region Roberts,Matthew Phase 3
9317243 FEDERAL BLVD UNIT 500 WESTMINSTER co | 80030|Southwest Region Roberts,Matthew Phase 3
1568/1595 W 48TH AVE DENVER ‘CO | 80221}Southwest Region Roberts,Matthew Phase 3
15914952 E 62ND AVE UNIT Ad COMMERCE CITY CO | 80022]Southwest Region Roberts,Matthew Phase 3
169]3645 S COLLEGE AVE ISTE? FORT COLLINS co 80525] Southwest Region Roberts,Matthew Phase 3
17912601 W 10TH ST (GREELEY CO | 80634}Southwest Region Roberts,Matthew Phase 3
18211648 MAIN ST LONGMONT CO | 80501}Southwest Region Roberts,Matthew Phase 3
1831530 E BROMLEY LN UNIT 105 [BRIGHTON CO | 80601}Southwest Region Roberts,Matthew Phase 3
62671964 DANIEL STUART SQ WOODBRIDGE VA 22191}Northeast Region Rowles, Beatrice Phase 3
630/508 S VAN DORN ST ISTEA ALEXANDRIA. A, 22304] Northeast Region Rowles,Beatrice Phase 3
6391311 N GLEBE RD ARLINGTON VA 22203} Northeast Region Rowles,Beatrice Phase 3
6832254 HUNTINGTON AVE ALEXANDRIA, VA 22303} Northeast Region Rowles, Beatrice Phase 3
918]/3925 MELROSE AVE NW ROANOKE VA 24017|Northeast Region Rowles,Beatrice Phase 3
926]2126 WARDS RD SUITE A LYNCHBURG A, 24502] Northeast Region Rowles,Beatrice Phase 3
940/10143 JEFFERSON AVE ISTEA NEWPORT NEWS A, 23605] Northeast Region Rowles,Beatrice Phase 3
941112917 JEFFERSON AVE [STE J NEWPORT NEWS VA 23608] Northeast Region Rowles,Beatrice Phase 3
94213819 KECOUGHTAN RD HAMPTON VA 23669] Northeast Region Rowles,Beatrice Phase 3
9921617D E BELT BLVD SUITE D RICHMOND A, 23224] Northeast Region Rowles,Beatrice Phase 3
16564337 DALE BLVD DALE CITY VA 22193} Northeast Region Rowles,Beatrice Phase 3
203]2835 N 16TH ST ISTE 6 PHOENIX 85006]Southwest Region —‘{Silva,Linda Phase 3
20673458 W VAN BUREN ST PHOENIX [AZ 85009}Southwest Region —‘{Silva,Linda Phase 3

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Case 23-10423-mkn

May-23

Street Address

1232 E Florence Ave
1330 E Alondra Blvd

5100 W Commercial Blvd

City
Los Angeles
Compton
Tamarac

3797 Martin Luther King Jr Bh Lynwood

10005 S Central Ave
1651 N State Rd 7
2642 Tamiami Trail E
10152 Atlantic Blvd
5169 14th St W

806 NE Waldo Rd

87 W Main St

4712 S Orange Blossom Trl
1523 S Crystal Lake Dr

4560 S Kirkman Rd
560 W 19th St

104 W Anaheim St
1648 W Carson St
1521 Eubank Blvd NE

4001 San Mateo Blvd NE

15701 Broadway Ave

500 E WASHINGTON BLVD

2300 N Main St
3570 Memorial Dr
6762 GA-85

20115 Saticoy St
14526 Sherman Way

2841 Greenbriar Pkwy SW

Los Angeles
Lauderhill
Naples
Jacksonville
Bradenton
Gainesville
Apopka
Orlando
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Orlando
Costa Mesa

WILMINGTON

Torrance
Albuquerque
Albuquerque

Maple Heights
LOS ANGELES

Las Cruces
Decatur
Riverdale
WINNETKA
Van Nuys
Atlanta

3675 Satellite Blvd, Suite 830 Duluth

350 Shallowford Rd D
5280 E Beverly Blvd
1529 W Innes St

3110 SW Cedar Hills Blvd

620 E 6th St
6111 South Blvd

1393 N Hacienda Blvd

4378 River Rd N
177 Q St

895 W 7th Ave

820 Pacific Blvd SE
745 E Foothill Blvd
16184 Foothill Blvd
244 NE Franklin Ave
412 SE 7th St

2352 Poplar Dr

741 NE Stephens St
845 S Broadway
11902 SE Stark St

1221 N State St
4110 Norwood Ave
4874 Genesee Ave
950 E Vista Way
4331 Elkhorn Blvd
6640 Valley Hi Dr
1825 Countryside Dr
1320 Standiford Ave

Gainesville
Los Angeles
Salisbury
Beaverton
Corona
Charlotte

La Puente
Keizer
Springfield
Eugene
Albany
Rialto
Fontana
Bend
Grants Pass
Medford
Roseburg
Coos Bay
Portland

San Jacinto
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Case 23-10423-mkn

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8434 N Lindbergh Blvd
22 W 7th St

283 Main St

290 E Cross Ave
2774 Willow Ave
1028 Manhattan Blvd
4609 Jackson St
3802 Jewella Ave
1417 Winnsboro Road
701 S Vienna St
4646 34th St

1400 Graham Dr
5516 River Oaks Blvd
1025 Texas Blvd N
19757 Eastex Fwy
630 S 23rd St

4502 Griggs Rd
2109 N 10th St

3614 FM 365

7901 Culebra Rd
1960 SW Military Dr
8515 Perrin Beitel Rd
215 S High St

1602 N Laurent St
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720 N Valley Mills Dr
1346 W N Blvd

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4328 Augusta Rd
21177 Euclid Ave
7403 Spring Hill Dr
100 S Ridgeway Dr

10959 Cypress Creek Pkwy

202 SAWDUST RD

3330 N Galloway Ave #Suite <

3800 Main St

836 W University Dr
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6848 Spencer Hwy

534 N New Braunfels Ave
4948 W Pico Blvd

1420 Wells Branch Pkwy
940 S 77 Sunshine Strip
727 S 14th St

1296 W 11th St

891 S Citrus Ave

3304 E 29th St

1340 W Olive Ave

2400 SW College Rd
1921 W Wheeler Ave
740 E Arrow Hwy

3516 W Siebenthaler Ave
2300 Cutting Blvd

410 E Pioneer Pkwy

La Mesa
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Alexandria
Shreveport
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Humble
McAllen
Houston
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Nederland
San Antonio
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San Antonio
Longview
Victoria
Alice

Waco
Leesburg

El Paso
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980 N Walnut Creek Dr

Mansfield

2222 Ambassador Caffery Pk\ Lafayette

2722 N Lombard St
530 SE 10th Ave

2038 Mission St

2700 San Pablo Ave
9001 International Blvd
1190 W F St

4796 E Kings Canyon Rd
3540 S Mooney Blvd
1856 S Euclid Ave
5311 Memphis Ave
3517 N 1st St

3337 Sherwood Way
1305 E 8th St

10004 Gravois Rd

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San Francisco
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Case 23-10423-mkn

Jun-23

Street Address

1232 E Florence Ave
1330 E Alondra Blvd

5100 W Commercial Blvd

City
Los Angeles
Compton
Tamarac

3797 Martin Luther King Jr Bl, Lynwood

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Los Angeles
Lauderhill
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Orlando
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Torrance
Albuquerque
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Maple Heights
LOS ANGELES
Las Cruces
Decatur
Riverdale
WINNETKA
Van Nuys
Atlanta

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4378 River Rd N
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22 W 7th St
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Gainesville
Salisbury
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Corona
Charlotte
La Puente
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Rialto
Fontana
Bend
Grants Pass
Medford
Roseburg
Coos Bay
Portland
San Jacinto
Sacramento
San Diego
Vista
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Turlock
Modesto

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Case 23-10423-mkn

2774 Willow Ave
1028 Manhattan Blvd
4609 Jackson St
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1400 Graham Dr
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19757 Eastex Fwy
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1420 Wells Branch Pkwy
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980 N Walnut Creek Dr

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Tomball
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Weslaco
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McAllen
Houston
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Nederland
San Antonio
San Antonio
San Antonio
Longview
Victoria
Alice

Waco
Leesburg

El Paso
Lancaster
Garden City
Cleveland
Spring Hill
Cleburne
Houston
The Woodlands
Mesquite
The Colony
Denton
Longview
Tyler
Houston
Pasadena
San Antonio
Los Angeles
Pflugerville
Harlingen
Kingsville
Tracy
Azusa
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Merced
Ocala
Aransas Pass
Pomona
Dayton
Richmond
Grand Prairie
Mansfield

2222 Ambassador Caffery Pk) Lafayette

2722 N Lombard St

530 SE 10th Ave

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1190 W F St

4796 E Kings Canyon Rd
3540 S Mooney Blvd

Portland
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Case 23-10423-mkn

1856 S Euclid Ave
5311 Memphis Ave
3517 N 1st St

3337 Sherwood Way
1305 E 8th St

10004 Gravois Rd

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Case 23-10423-mkn

Jul-23

Street Address

1232 E Florence Ave
1330 E Alondra Blvd

5100 W Commercial Blvd

City
Los Angeles
Compton
Tamarac

3797 Martin Luther King Jr Bl Lynwood

10005 S Central Ave
1651 N State Rd 7
2642 Tamiami Trail E
10152 Atlantic Blvd
5169 14th St W

806 NE Waldo Rd

87 W Main St

4712 S Orange Blossom Trl
1523 S Crystal Lake Dr

4560 S Kirkman Rd
104 W Anaheim St
1648 W Carson St

1521 Eubank Blvd NE
4001 San Mateo Blvd NE

15701 Broadway Ave

500 E WASHINGTON BLVD

2300 N Main St
3570 Memorial Dr
6762 GA-85

20115 Saticoy St
14526 Sherman Way

2841 Greenbriar Pkwy SW

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Naples
Jacksonville
Bradenton
Gainesville
Apopka
Orlando
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Orlando
WILMINGTON
Torrance
Albuquerque
Albuquerque
Maple Heights
LOS ANGELES
Las Cruces
Decatur
Riverdale
WINNETKA
Van Nuys
Atlanta

3675 Satellite Blvd, Suite 830 Duluth

350 Shallowford Rd D
1529 W Innes St

3110 SW Cedar Hills Blvd

620 E 6th St
6111 South Blvd

1393 N Hacienda Blvd

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895 W 7th Ave

820 Pacific Blvd SE
745 E Foothill Blvd
16184 Foothill Blvd
244 NE Franklin Ave
412 SE 7th St

2352 Poplar Dr

741 NE Stephens St
845 S Broadway
11902 SE Stark St
1221 N State St
4110 Norwood Ave
4874 Genesee Ave
950 E Vista Way
4331 Elkhorn Blvd
6640 Valley Hi Dr
1825 Countryside Dr
1320 Standiford Ave
7900 El Cajon Blvd

8434 N Lindbergh Blvd

22 W 7th St

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Corona
Charlotte
La Puente
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Albany
Rialto
Fontana
Bend
Grants Pass
Medford
Roseburg
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4609 Jackson St
3802 Jewella Ave
1417 Winnsboro Road
701 S Vienna St
4646 34th St

1400 Graham Dr
5516 River Oaks Blvd
1025 Texas Blvd N
19757 Eastex Fwy
630 S 23rd St

4502 Griggs Rd
2109 N 10th St

3614 FM 365

7901 Culebra Rd
1960 SW Military Dr
8515 Perrin Beitel Rd
215 S High St

1602 N Laurent St
1132 E Main St

720 N Valley Mills Dr
1346 W N Blvd

8838 Viscount Blvd
1821 W Ave |

4328 Augusta Rd
21177 Euclid Ave
7403 Spring Hill Dr
100 S Ridgeway Dr

10959 Cypress Creek Pkwy

202 SAWDUST RD

3330 N Galloway Ave #Suite <

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2309 Gilmer Rd

319 E Front St
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6848 Spencer Hwy

534 N New Braunfels Ave

4948 W Pico Blvd

1420 Wells Branch Pkwy

940 S 77 Sunshine Strip
727 S 14th St

1296 W 11th St

891 S Citrus Ave

3304 E 29th St

1340 W Olive Ave

2400 SW College Rd
1921 W Wheeler Ave
740 E Arrow Hwy

3516 W Siebenthaler Ave

2300 Cutting Blvd
410 E Pioneer Pkwy
980 N Walnut Creek Dr

Brawley
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Monroe
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Weslaco
Humble
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Houston
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Nederland
San Antonio
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San Antonio
Longview
Victoria
Alice

Waco
Leesburg

El Paso
Lancaster
Garden City
Cleveland
Spring Hill
Cleburne
Houston
The Woodlands
Mesquite
The Colony
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Longview
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Pasadena
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Los Angeles
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1856 S Euclid Ave

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1305 E 8th St

10004 Gravois Rd

Hillsboro

San Francisco
Oakdale
Fresno

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Ontario
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